           Case 22-10609-amc                              Doc 50             Filed 04/08/22 Entered 04/08/22 16:46:10                                                  Desc Main
                                                                            Document      Page 1 of 70
 Fill in this information to identify the case:

 Debtor name          Scungio Borst & Associates, LLC_____________________________ _______

 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)            22-10609(AIVIC)
                                                                                                                                                                  □ Check if this is an
                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-lndividuals                                                                                                                                   12/15

 Parti:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       la. Real property:
           Copy line 88 from Schedule A/B......................................................................................................................         $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule /VB...................................................................................................................           $        1,701,594.45

       1c. Total of all property:
           Copy line 92 from Schedule A/B.....................................................................................................................          $        1,701,594.45


 Part 2:     Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D........................                                              $_       4,144,328.72


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F...................................................................                            $3,470.07

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F.........................................                                    +$        8,216,566.74


 4.    Total liabilities ..
       Lines 2 + 3a + 3b                                                                                                                                           $         12,364,365.53




 Official Form 206Sum                                        Summary of Assets and Liabilities for Non-lndividuals                                                                       page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                          Best Case Bankruptcy
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                                                                     Document      Page 2 of 70
 Fill in this information to identify the case:

 Debtor name         Scungio Borst & Associates, LLC_____________________________________

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         22-10609(AIVIC)
                                                                                                                             I [ Check if this is an
                                                                                                                                 amended filing



Official Form 206A/B
Schedule AZB: Assets - Real and Personal Property_____________ 12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting Schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Parti:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      □ No. Go to Part 2.
      0 Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   TD Bank, N.A.                                            Main Checking Account        4109__________             ___        $98,766.01



                                                                            Alternative Checking
            3.2.   TD Bank, N.A.                                            Account                      7620                                      $157.07




            3.3.   TD Bank, N.A.                                            Payroll Account              4281___________            ___            $979.02




            3.4.   Federal Resources FCU                                    Checking Account             3731___________            ___          $1,437.55




            3.5.   Federal Resources FCU                                    Savings Account              8420__________             ___              $10.00




            3.6.   Truist Bank                                              Checking Account             2296__________             ___        $13,732.54



4.          Other cash equivalents (Identify all)



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 1
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 Debtor            Scungio Borst & Associates, LLC                                             Case number (if known) 22-10609(AIVIC)
                   Name


 5.         Total of Part 1.                                                                                                            $115,082.19
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      □ No. Go to Part 3.
      0 Yes Fill in the information below.

 7. Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit
                     TKO 6 Corp a/k/a TKO Suites
                     1521 West Concord Pike, Suite 301
            7.1             Wilmington, DE 19803__________________________________________________                                            $1,200.00


                     House Rental for Out of Town Personnel
                     Sarina Chaudry
                     414 Edgemont Road
            7.2.     Stroudsburg, PA 18360________________________________________________________                                            $3,200.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                              $4,400.00
            Add lines 7 through 8. Copy the total to line 81.

 Parts:     Accounts receivable
10. Does the debtor have any accounts receivable?

      □ No. Go to Part 4.
      H Yes Fill in the information below.

 11.        Accounts receivable
                                              See Rider
            11 a. 90 days old or less:        Schedule A/B 11a
                                              face amount                        doubtful or uncollectible accounts




                                              See Rider
            11b. Over 90 days old:            Schedule A/B 11b
                                              face amount                        doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                                   $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

      0 No. Go to Part 5.
      O Yes Fill in the information below.


 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      0 No. Go to Part 6.
      □ Yes Fili in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Scungio Borst & Associates, LLC                                                Case number (if known) 22-10609(AIVIC)
                Name



 Parte:         Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      0 No. Go to Part 7.
      □ Yes Fill in the information below.


 Part?:         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      □ No. Go to Part 8.
      0 Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used     Current value
                                                                               debtor's interest      for current value         debtor's interest
                                                                               (Where available)

 39.        Office furniture
            Miscellaneous Office Furniture                            ______   ____________ $0.00     N/A_______________       _________ $3,800.00



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            Miscellaneous Office Equipment                                                   $0.00    N/A                                    $1,400.00



 42.        Collectibles Examples'. Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles


 43.        Total of Part 7.                                                                                                                $5,200.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
                Yes

45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
            0 No
            □ Yes

 Part 8:        Machinery, equipment, and vehicles
46.        Does the debtor own or lease any machinery, equipment, or vehicles?

      □ No. Go to Part 9.
      0 Yes Fili in the information below.

            General description                                                Net book value of      Valuation method used     Current value of
            Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
            (i.e., VIN, HIN, or N-number)                                      (Where available)

47.         Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.         Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels
            48.1.          2003 Proline 23 Sport CC with 2004 225
                     HP Mercury Saltwater Engine                                       $14,090.00     NADA Guide                           $14,090.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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                 Name

            48.2.    Load-Rite Tandem Traiier                                           $1,075.00    NADA Guide                            $1,075.00


            48.3.    2010 Carolina Skiffle'Model JVX16SC
                     with 2010 60 HP Evinrude Engine_______                  __         $7,810.00    NADA Guide_______                     $7,810.00


            48.4.    2010 Trailer 16'______________________                  __          $295.00     NADA Guide_______                        $295.00



 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                           $23,270.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            0 No
            □ Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    0 No. Go to Part 10.
    □ Yes Fill in the information below.


 Part 10:    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    □ No. Go to Part 11.
    0 Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.scungioborst.com                                                        $1,562.00                                           Unknown


            www.sbacmc.com                                                              $1,335.00                                           Unknown



 62.        Licenses, franchises, and royalties

 63.       Customer lists, mailinglists, or other compilations

 64.       Other intangibles, or intellectualproperty

 65.       Goodwill

 66.       Total of Part 10.                                                                                                                   $0.00
           Add lines 60 through 65. Copy the total to line 89.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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                Name



 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101 (41A) and 107?
            0 No
            □ Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            12 No
            □ Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            BNo
            □ Yes

 Part 11;
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    □ No. Go to Part 12.
    12 Yes Fili in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Mechanic's Lien styled Scungio Borst & Associates,
            LLC V. KPG-MCG Curtis Tenant, LLC, et al.
            Philadelphia Court of Common Pleas No. 1810M0013                                                                              Unknown
            Nature of claim         Mechanic's Lien_____________
            Amount requested                    $7,444,073.05


            Scungio Borst & Associates LLC v. KPG-MCG Curtis
            Tenant, LLC, et al.
            Philadelphia Court of Common Pleas No. 190200666                                                                              Unknown
            Nature of claim         Construction Litigation
                                    (inclusive of mechanic's lien
                                                           claim)___________________
            Amount requested                    $11,521,476.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Employee Retention Credit 2020 Q2 941X                                                                                        $8,081.39



            Employee Retention Credit 2020 Q3 941X                                                                                    $126,680.17


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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                Name



           Employee Retention Credit 2020 Q4 941X                                                                        _________ $8,892.82



           Employee Retention Credit 2021 Q1 941X                                                                        _______ $198,724.00



           Employee Retention Credit 2021 Q2 941X                                                                        _______ $138,728.77



           Employee Retention Credit 2021 Q3 941X_____________                                                           _______ $212,150.22



           Due from Millennial Place - BOE                                                                               _______ $235,510.75



           Loan to Christopher DiGeorge_______________________                                                            _________ $5,000.00



           Loan to 418 Federal Partners (Library)                                                                         _______ $619,874.14




 78.       Total of Part 11.                                                                                                  $1,553,642.26
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
           E No
           □ Yes




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor          Scungio Borst & Associates, LLC                                                                    Case number (if known) 22-10609(AMC)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                                              Current value of                Current value of real
                                                                                                   personal property               property

 80. Cash, cash equivalents, and financial assets,
     Copy line 5, Part 1                                                                                         $115,082.19

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $4,400.00

 82. Accounts receivable. Copy line 12, Part 3.                                                    __                      $0.00

 83. Investments. Copy//ne 17, Part 4.                                                             __                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                              __                      $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                             $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                         __               $5,200.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                     __              $23,270.00

 88. Real property. Copy line 56, Part 9.......................................................... ........................... >


 89. intangibles and intellectual property. Copy line 66, Part 10.                                 __                      $0.00

 90. All other assets. Copy line 78, Part 11.                                                  +              $1,553,642.26

 91. Total. Add lines 80 through 90 for each column                                                        $1,701,594.45


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                           $1,701,594.45




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 7
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                       “SCHEDULE A/B Ila”
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            Type         Date            Num                                       Name                                     Due Date   Open Balance Stale/Doubtful                      Reason
Current
        Pre-Invoice   , 02/28/2022   2l02001-012i   ' 1st;PhaSeRehaBilitation Pennington MediCal Cpnter j’j                i®T5/2(i22( iKIBS4/ffi7i32Bi5
        Invoice         01/31/2022   2001011-010      East Third Media LLC:Wright Partners HQ 2001011                       03/17/2022     157,420.76    -157,420.76 AP owed to subs exceeds AR owed.
        Invoice         02/28/2022   2001011-011      East Third Media LLCiWright Partners HQ 2001011                       04/14/2022      32,424.13     -32,424.13 AP owed to subs exceeds AR owed.
        Invoice         12/31/2021   2101031-002      PLCB Warehouse Phase IB                                               02/14/2022       4,832.75            0.00
        Invoice         12/31/2021   2101032-002      KLS Logistics lnc:2101032 PLCB Improvements Phase 2                   02/14/2022       3,777.07            0.00
        Invoice         01/31/2022   2101032-003      KLS Logistics lnc:2101032 PLCB Improvements Phase 2                   03/17/2022      11,433.95     -11,433.95 AP owed to subs exceeds AR owed.
        Invoice         02/28/2022   2101032-004      KLS Logistics lnc:2101032 PLCB Improvements Phase 2                   04/14/2022       6,436.74      -6,436.74 AP owed to subs exceeds AR owed.
        Invoice         01/31/2022   2101037-001      KLS Logistics inc:2101035 PLCB Electric & Exit Signs:2101032-21010    03/17/2022       6,990.00      -6,990.00 AP owed to subs exceeds AR owed.
        Invoice         02/28/2022   2201003-001      KLS Logistics lnc:Dispatch Stripping- 2201003                         04/14/2022      27,010.81     -27,010.81 AP owed to subs exceeds AR owed.
        Invoice         02/28/2022   2001009-013      Nerd Street Gamers Localhost Phila LLC:2001009- Localhost- Phila &    04/14/2022      80,882.92     -80,882.92 AP owed to subs exceeds AR owed.
        Invoice         10/31/2021   2001009-009      Nerd Street Gamers Localhost Phila LLC:2001009- Localhost- Phila &    12/15/2021          15.03         -15.03 AP owed to subs exceeds AR owed.
        Invoice         11/30/2021   2001009-010      Nerd Street Gamers Localhost Phila LLC:2001009- Localhost- Phila &    01/14/2022            0.46          -0.46 AP owed to subs exceeds AR owed.
        Invoice         01/31/2022   2102004-008      Onyx Management Group LLC:2102004- Panera Bread-Hazlet Town           03/17/2022     300,494.50            0.00
        Invoice         02/28/2022   2102004-009      Onyx Management Group LLC:2102004- Panera Bread-Hazlet Town           04/14/2022      84,608.51            0.00
        Invoice         12/31/2021   2102005-003      Onyx Management Group LLC:2102005-Bubbakoos Burritos                  02/14/2022      14,941.52            0.00
         Invoice        01/31/2022   2102005-004      Onyx Management Group LLC:2102005-Bubbakoos Burritos                  03/17/2022      45,649.27            0.00
         Invoice        02/28/2022   2102005-005      Onyx Management Group LLC:2102005-Bubbakoos Burritos                  04/14/2022      15,687.37            0.00
         Invoice        11/30/2021   2102005-002      Onyx Management Group LLC:2102005-Bubbakoos Burritos                  01/14/2022            0.01           0.00
         Invoice        02/28/2022   2101017-001      Proconex:Lobby, Caffe, Restrooms- 2101017                             02/28/2022      28,859.77            0.00
         Invoice        12/31/2021   2102003-007      Shopping Center Associates:2102003- Menlo Park Multi Tenant 2         02/14/2022            0.01          -0.01
Total Current-90                                                                                                                         1,255,572,90    -322,614.81
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> 90
       Invoice       06/30/2020   1901002-016 Agusta Aerospace Corporation:1901002- Leonardo Training Facility         08/14/2020          0.01              0.00 AR diminimus
       Invoice       12/31/2020   1901002-022 Agusta Aerospace Corporation:! 901002- Leonardo Training Facility        02/14/2021    58,235.88               0.00 Duplicate invoice in system, Not Due
       Invoice       07/31/2015   1503001-003 Allied Properties:!50300!                                                09/10/2015          0.01              -0.01 AR diminimus
       Invoice       06/15/2015   1402015-002 AthenianRazak LLC:!4020!5                                                07/10/2015    21,600.00                0.00
       Invoice       12/08/2015   1402015-003 AthenianRazak LLC:!4020!5                                                12/31/2015     2,400.00                0.00
       Invoice       10/08/2020   1901014-002 Bala Plaza Property, lnc:!90!0!4- BOSS                                   11/22/2020          0.12              -0.12 AR diminimus
       Invoice       08/31/2020   2001003-003 Besco Company:200!003-DiBruno Bros Core & Shell                          10/15/2020          0.01               0.00 AP owed to subs exceeds AR owed.
       Invoice       12/31/2020   2001003-007 Besco Company:200!003-DiBruno Bros Core & Shell                          02/14/2021          0.01               0.00 AP owed to subs exceeds AR owed.
       Invoice       05/31/2021   2001003-011 Besco Company:200!003-DiBruno Bros Core & Shell                          07/15/2021    70,686.86                0.00 AP owed to subs exceeds AR owed.
       Invoice       09/30/2021   2001003-012 Besco Company:200!003-DiBruno Bros Core & Shell                          11/14/2021     2,951.98                0.00 AP owed to subs exceeds AR owed.
       Invoice       12/31/2020   2001004-006 Besco Company:DiBrunos Tenant Fit Out- 200!004                           02/14/2021          0.02               0.00 AP owed to subs exceeds AR owed.
       Invoice       02/28/2019   1801011-006 Boeing Co:!80!0!!- Scheduler                                             03/30/2019     9,525.00                0.00
       Invoice       03/12/2013   PWRGC-1-09 Cooper's Ferry Development Association:! 002017 - POWER GC                04/11/2013     5,000.00      -       5,000.00 AR not Due; Credits/Payments not applied against invoices in system
       Invoice       04/16/2013   PWRGC-1-66 Cooper's Ferry Development Association:! 0020! 7 - POWER GC               04/16/2013     5,000.00      -       5,000.00 AR not Due: Credits/Payments not applied against invoices in system
       Invoice       03/09/2017   1602001-005 Cooper's Ferry Development Association:!60200!                           03/09/2017       800.00          -         800.00 AR not Due: Credits/Payments not applied against invoices in system
       invoice       04/03/2017   1602001-008 Cooper's Ferry Development Association:!60200!                           04/03/2017       900.00          -         900.00 AR not Due: Credits/Payments not applied against invoices in system
       invoice       07/10/2017   1602003-001 Cooper's Ferry Development Association:!602003                           07/10/2017     5,000.00      -5,000.00 AR not Due: Credits/Payments not applied against invoices in system
       Invoice       06/01/2018   3           Cooper's Ferry Development Association:!602003                           06/16/2018    28,910.00     -28,910.00 AR not Due: Credits/Payments not applied against invoices in system
       Invoice       12/31/2015   1501001-014 Delaware River Waterfront Corporation:!50!00!                            01/30/2016       310.16          -310.16 AR not Due: Credits/Payments not applied against invoices in system
       Invoice       12/31/2018   1801001-012 Delaware River Waterfront Corporation:!80!00!- Cherry Street Pier 9      02/14/2019          1.75              -1.75 AR diminimus
       Invoice       01/31/2019   1801001-013 Delaware River Waterfront Corporation:! 80! 00! - Cherry Street Pier 9   03/17/2019          0.03              -0.03 AR diminimus
       Invoice       04/30/2021   2001011-002 East Third Media LLC:Wright Partners HQ 200! 0!!                         06/14/2021   117,597.00    -117,597.00 AP owed to subs exceeds AR owed.
       Invoice       05/31/2021   2001011-003 East Third Media LLC:Wright Partners HQ 200! 0!!                         07/15/2021    20,631.35     -20,631.35 AP owed to subs exceeds AR owed.
       Invoice       05/31/2021   2001007-003 Keystone PF Lansdale LLC:200!007- PF Lansdale                            07/15/2021     1,350.00      - 1,350.00 AP owed to subs exceeds AR owed.
       Invoice       07/31/2021   2001007-005 Keystone PF Lansdale LLC:200!007- PF Lansdale                            09/14/2021    14,337.73     -14,337.73 AP owed to subs exceeds AR owed.
       Invoice       10/19/2020   2001008-2-1 Keystone PF Park West LLC:200!008-200!008-002                            11/18/2020     6,484.50      -       6,484.50 AP owed to subs exceeds AR owed.
       Invoice       12/31/2019   1901007-004 Keystone PF Red Lion LLC:!90!007-!90!007-00!                             01/30/2020          0.62              -      0.62 AP owed to subs exceeds AR owed.
       Invoice       01/31/2020   1901007-005 Keystone PF Red Lion LLC:!90!007-!90!007-00!                             03/16/2020          1.00              -          1.00 AP owed to subs exceeds AR owed.
       Invoice       03/31/2020   1901007-006 Keystone PF Red Lion LLC:!90!007-!90!007-00!                             05/15/2020          2.16              -          2.16 AP owed to subs exceeds AR owed.
       Invoice       12/31/2020   1901013-008 King of Prussia Assocaites:Buffalo Wild Wings- !90!0!3                   02/14/2021          0.02              -          0.02 AP owed to subs exceeds AR owed.
       Invoice       03/31/2016   1501007-004 KPG-MCG Curtis Tenant, LLC (Keystone):!50!007                            05/10/2016          0.01               0.00
       Invoice       02/28/2017   1501007-013 KPG-MCG Curtis Tenant, LLC (Keystone):!50!007                            04/10/2017          0.34               0.00
       Invoice       05/30/2016   1601002-004 KPG-MCG Curtis Tenant, LLC (Keystone):!50!007:!60!002                    07/10/2016     6.502.52                0.00
       Invoice       01/25/2016   1501006-003 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              01/25/2016          6.25               0.00 AR-Lawsuit Based
       Credit Memo   01/25/2016   1501006-3A KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                 01/25/2016         -6.29               0.00 AR-Lawsuit Based
       Invoice       06/30/2016   1501006-009 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              08/10/2016          0.01               0.00 AR-Lawsuit Based
       Invoice       01/31/2017   1501006-016 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                03/10/2017          1.06               0.00 AR - Lawsuit Based
       Invoice       03/31/2017   1501006-018 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              05/10/2017          1.05               0.00 AR - Lawsuit Based
       Invoice       05/31/2017   1501006-020 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                07/10/2017          2.08               0.00 AR - Lawsuit Based
        Invoice      06/30/2017   1501006-021 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              08/10/2017          4.21               0.00 AR - Lawsuit Based
        Invoice      08/31/2017   1501006-023 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                10/10/2017          8.38                  0,00 AR - Lawsuit Based
        Invoice      09/30/2017   1501006-024 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                11/10/2017        37.00                   0.00 AR - Lawsuit Based
        Invoice      10/31/2017   1501006-025 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                12/10/2017        51.93                   0.00 AR - Lawsuit Based
        Invoice      01/31/2018   1501006-029 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              03/17/2018       105.70                   0.00 AR - Lawsuit Based
        Invoice      07/31/2018   1501006-035 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              09/14/2018          0.02                  0.00 AR - Lawsuit Based
        Invoice      08/31/2018   1501006-036 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                10/15/2018    12,644.56                   0.00 AR - Lawsuit Based
        Invoice      09/30/2018   1501006-037 KPG-MCG Curtis Tenant, LLC:!50!006 - Lyndon at the Curtis                11/14/2018    48,973.06                   0.00 AR - Lawsuit Based
        Invoice      12/31/2018   1501006-038 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              02/14/2019   223,791.99                   0.00 AR - Lawsuit Based
        Invoice      12/31/2018   1501006-039 KPG-MCG Curtis Tenant, LLC:! 50! 006 - Lyndon at the Curtis              02/14/2019   655,355.14                   0.00 AR - Lawsuit Based
        Invoice      06/08/2018   1501006-5-1 KPG-MCG Curtis Tenant, LLC:!50!006-!50!006-005                           06/08/2018    58,277.83                   0.00 AR - Lawsuit Based
        Invoice      01/31/2013   110200SS2-1 Macerich:! !02008-Deptford Mall Vertical Transporta                      02/28/2013     2,716.00                   0.00
        Invoice      05/21/2013   1102008-501 Macerich:! !02008-Deptford Mall Vertical Transporta                      06/20/2013    29,330.00                   0.00
        Invoice      07/31/2013   1102008-008 Macerich:! !02008-Deptford Mall Vertical Transporta                      08/31/2013          0.01                  0.00
        Invoice      01/29/2014   1302008-004 Macerich:!302008 - Deptford Entrance & Painting                          03/10/2014    11,798.20                   0.00
        Invoice      12/31/2015   1312002-016 Macerich:!3!2002-Kings Plaza Renovation                                  01/10/2016    45,465.74                0.00
        Invoice      10/06/2014   SBA-1       Marshall Dennehey Warner Coleman & Coggin                                11/05/2014     4,470.00      -       4,470.00 AR Bill superceded and not credited in system
        Invoice      07/31/2019   1901001-2-2 National Fitness Partners:!90!00!- PF Marple Crossing                    08/30/2019     2,894.60      -       2,894.60 AP owed to subs exceeds AR owed.
        Invoice      08/30/2019   1901001-2-3 National Fitness Partners:!90!00!- PF Marple Crossing                    09/29/2019     2,894.60      -       2,894.60 AP owed to subs exceeds AR owed.
        Invoice      09/30/2019   1901001-2-4 National Fitness Partners:!90!00!- PF Marple Crossing                    10/30/2019       811.71          -          811.71 AP owed to subs exceeds AR owed.
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Invoice       12/31/2019   1901009-005   National Fitness Partners:1901009-PF Souderton                       01/30/2020         0.02            -           0.02 AP owed to subs exceeds AR owed.
Invoice       11/30/2019   1901011-004   National Fitness Partners:1901011- PF MArket Street Fit Out          12/30/2019         0,02            -           0.02 AP owed to subs exceeds AR owed.
Invoice       01/31/2020   1901011-006   National Fitness Partners;1901011- PF MArket Street Fit Out          03/01/2020         0.18            -           0.18 AP owed to subs exceeds AR owed.
Invoice       06/30/2019   1801014-005   National Fitness PartnersiColombus Crossing PF-1801014               07/30/2019         0.10            -           0.10 AP owed to subs exceeds AR owed.
Invoice       06/30/2019   1901004-001   National Fitness PartnersiPF-1835 Market St-1901004                  07/30/2019         0.03            -           0.03 AP owed to subs exceeds AR owed.
Invoice       06/30/2020   1901010-005   National Fitness Partners:PF Clifton Heights-1901010                 08/14/2020         0.34            -           0.34   AP owed to subs exceeds AR owed.
Invoice       06/30/2019   1801008-006   National Fitness Partners:Planet Fitness- 1801008                    07/30/2019         0.07            -           0.07   AP owed to subs exceeds AR owed.
Invoice       09/30/2019   1901001-007   National Fitness PartnersiPlanet Fitness- Springfield-1901001        11/14/2019         0.02            -           0.02   AP owed to subs exceeds AR owed.
Invoice       10/31/2019   1901001-008   National Fitness PartnersiPlanet Fitness- Springfield-1901001        11/30/2019         0.03            -           0.03   AP owed to subs exceeds AR owed.
Invoice       03/31/2018   1701008-004   National Real Estate DevelopmentiEast Market Sitework-1701008        05/15/2018         0.08            -           0.08 AP owed to subs exceeds AR owed.
Invoice       09/30/2018   1701008-010   National Real Estate DevelopmentiEast Market Sitework-1701008        11/14/2018         0.05            -           0.05 AP owed to subs exceeds AR owed.
Invoice       11/30/2018   1701008-012   National Real Estate DevelopmentiEast Market Sitework-1701008        01/14/2019        10.02        -              10.02 AP owed to subs exceeds AR owed.
Invoice       02/28/2021   2001009-001   Nerd Street Gamers Localhost Phila LLCi2001009- Localhost- Phila &   04/14/2021    67,057.37    -67,057.37 AP owed to subs exceeds AR owed.
Invoice       04/28/2021   2001009-003   Nerd Street Gamers Localhost Phila LLCi2001009- Localhost- Phila &   06/12/2021         0.29            -           0.29 AP owed to subs exceeds AR owed.
Invoice       05/31/2021   2001009-004   Nerd Street Gamers Looalhost Phila LLCi2001009- Localhost- Phila &   07/15/2021        15.00        -     15.00 AP owed to subs exceeds AR owed.
Invoice       08/31/2021   2001009-007   Nerd Street Gamers Localhost Phila LLCi2001009- Looalhost- Phila &   09/30/2021        15.00        -     15.00 AP owed to subs exceeds AR owed.
Credit Memo   11/09/2021   102           Nerd Street Gamers Localhost Phila LLCi2001009- Localhost- Phila &   11/09/2021       -29.34         29.34 AP owed to subs exceeds AR owed.
Invoice       09/30/2021   2001009-008   Nerd Street Gamers Localhost Phila LLCi2001009- Localhost- Phila &   11/14/2021        14.99        -14.99 AP owed to subs exceeds AR owed.
Invoice       06/03/2016   1601004-003   Paramount Realty Trustil 601004-North East Town Center               06/03/2016         0.02                0.00
Invoice       04/15/2016   1601004-001   Paramount RealtyTrusti1601004-North EastTown Center                  06/10/2016         0.21                0.00
invoice       04/30/2016   1601004-002   Paramount Realty Trusti1601004-North East Town Center                06/10/2016    16,421.45                0.00
Invoice       07/31/2016   1601004-004   Paramount Realty Trusti1601004-North East Town Center                08/10/2016         0.01                0.00    AR   not   Due:   Credits/Payments not applied against invoices in system
invoice       09/15/2016   1601004-007   Paramount Realty Trusti1601004-North East Town Center                09/30/2016         0.02                0.00    AR   not   Due:   Credits/Payments not applied against invoices in system
Invoice       09/30/2016   1601004-008   Paramount Realty Trusti1601004-North East Town Center                10/10/2016         0.01                0.00    AR   not   Due:   Credits/Payments not applied against invoices in system
Invoice       11/30/2016   1601004-010   Paramount Realty Trustil601004-North East Town Center                12/10/2016         0,04                0.00    AR   not   Due:   Credits/Payments not applied against invoices in system
Invoice       12/31/2016   1601004-011   Paramount Realty Trustil601004-North East Town Center                12/31/2016         0,04                0.00 AR not Due: Credits/Payments not applied against invoices in system
Invoice       01/16/2019   1801010-005   PawsCare, LLCiDogtopia-1801010                                       03/02/2019         0,01                0.00 AR diminimus
Invoice       09/30/2019   1902001-005   PawsCare, LLCiDogtopia Cherry Hill- 1902001                          11/14/2019         0.09                0.00 AR diminimus
Invoice       11/30/2019   1902001-007   PawsCare, LLCiDogtopia Cherry Hill- 1902001                          01/14/2020         0.01                0.00 AR diminimus
Invoice       05/31/2021   2101001-004   Penrose Property Investorsi2101001- Hair Buzz                        07/15/2021         0.90                0.00 AR diminimus
Invoice       03/31/2020   1901005-009   RECPhillyiREC Philly Space 2120-1901005                              05/15/2020   124,608.13    -45,751.93 Owner Paid Subcontractors directly {$45,751.93}
Invoice       04/30/2018   1701009-004   RS Energyi1701009- RS Energy-7th Fl Fit Out                          06/14/2018         0.03            -            0.03 AR diminimus
Invoice       05/14/2018   1701009-005   RS Energyi1701009- RS Energy-7th Fl Fit Out                          06/28/2018         0.29            -            0.29 AR diminimus
Invoice       06/08/2018   1701009-001   RS Energyi1701009- RS Energy-7th Fl Fit Out                          07/23/2018         0.01            -            0.01 AR diminimus
Invoice       08/31/2018   1701009-001   RS Energyi1701009- RS Energy-7th Fl Fit Out                          10/15/2018         0.30         -      0.30 AR diminimus
Invoice       10/31/2019   1801004-010   Schwarz Galleryi1801004-Flood Restoration Schwarz Gallery            12/15/2019         0.17         -      0.17 AR diminimus
Invoice       12/17/2013   SBI#001       Scungio Borst International- Europe                                  12/17/2013   132,663.89   -132,663.89 AR not recoverable, Journal Entry Offset Made
Invoice       06/30/2021   002           Scungio Borst International-USA                                      08/29/2021   129,453.54   -129,453.54 AR not due, Journal Entry Offset Made
Invoice       10/01/2021   003           Scungio Borst International-USA                                      11/30/2021    91,858.49    - 91,858.49 AR not due, Journal Entry Offset Made
Invoice       04/15/2017   1701002-002   Shopcore Propertyi1701002-Colombus Crossing                          05/10/2017         0.04            -            0.04 AR diminimus
Invoice       08/31/2017   1701003-003   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-1701      08/31/2017         0.20            -            0.20 AR diminimus
Invoice       08/11/2017   1701003-002   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-1701      09/11/2017         0.07            -            0.07 AR diminimus
Invoice       09/15/2017   1701003-004   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-1701      10/15/2017         0.36            -            0.36 AR diminimus
Invoice       11/30/2017   1701003-009   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-1701'     11/30/2017         2.57            -            2.57 AR diminimus
invoice       11/15/2017   1701003-008   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-1701'     12/15/2017         1,92            -            1.92 AR diminimus
invoice       03/31/2018   1701003-011   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-17011     05/15/2018         5,13            -            5.13 AR diminimus
Invoice       05/31/2018   1701003-012   Shopcore Propertyi1701002-Colombus CrossingiTJMaxx Fit Out-1701'     07/15/2018         9,45            -            9.45 AR diminimus
Invoice       11/04/2019   1902002-3-1   Shopping Center Associatesi1902002-1902002-001                       12/04/2019     7,700,00                0.00
Invoice       01/31/2020   1902002-001   Shopping Center Associatesi1902002-1902002-001                       03/16/2020         0,05                0.00
Invoice       02/29/2020   2002001-2-1   Shopping Center Associatesi2002001- Menlo Park Multi Tenants         04/14/2020       459,50             0.00
Invoice       08/31/2017   1701001-007   Simon Premium 0utletsi1701001 - Restoration Hardware                 08/31/2017         0.29            -            0.29 AR diminimus
Invoice       01/31/2018   1701007-003   Simon Premium Outletsi1701007-Neiman Marcus Bldg 7                   03/17/2018         0.03            -            0.03 AR diminimus
Invoice       06/11/2020   1902003-004   Simon Premium Outletsi 1902003- Gloucester Outlets FC Redemise       07/26/2020         0.27            -            0.27 AR diminimus
Invoice       09/30/2020   1902003-006   Simon Premium Outletsi 1902003- Gloucester Outlets FC Redemise       11/14/2020         0.01            -            0.01 AR diminimus
Invoice       08/31/2013   1301002-004   Simon Property Groupi1301002- The Container Store @ KOP Mall         09/30/2013         0.04            -            0.04 AR diminimus
Invoice       04/30/2014   1301002-010   Simon Property Groupi 1301002- The Container Store @ KOP Mail        06/10/2014         0.02            -            0.02 AR diminimus
Invoice       06/15/2016   1401001-018   Simon Property Groupi1401001 - Montgomery Mail Renovation            07/10/2016         0.10                0            .00 AR Doubtful for Collection; Simon Abandoned Property
Invoice       09/07/2016   1401001-019   Simon Property Groupi1401001 - Montgomery Mall Renovation            09/30/2016    19,997.70                0            .00 AR Doubtful for Collection; Simon Abandoned Property
Invoice       03/31/2016   1601003-002   Simon Property Groupi1601003-Lincoln Plaza                           05/10/2016         0.01            -0.01 AR diminimus
Invoice       05/31/2016   1601003-004   Simon Property Groupi1601003-Lincoln Plaza                           07/10/2016         0.01            -0.01 AR diminimus
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          Invoice   11/30/2018   1801006-005   Simon Property GroupiLincoln Plaza Outparcel-1801006    01/14/2019          0.02            -0.02 AR diminimus
          Invoice   12/31/2018   1801006-006   Simon Property Group:Lincoln Plaza Outparcel-1801006    02/14/2019          0.05            -0.05 AR diminimus
          Invoice   01/31/2019   1801006-007   Simon Property Group:Lincoln Plaza Outparcel- 1801006   03/17/2019          0.01            -0.01 ARdlminimus
          Invoice   05/31/2019   1801006-010   Simon Property Group:Lincoln Plaza Outparcel- 1801006   07/15/2019          0.12            -0.12 AR diminimus
          Invoice   12/31/2018   1801009-55A   The Boeing Company:Restrooms-1801009                    02/14/2019           2.62           -2.62 AR diminimus
          Invoice   07/15/2015   1502004-001   TIAA - CREF: 1502004- Market Fair Mall                  07/15/2015      3,936.00       -3,936.00 AR not Due: Credits/Payments not applied against invoices in system
          Invoice   08/30/2015   1502004-005   TIAA - CREF: 1502004- Market Fair Mall                  08/30/2015     10,114.00      -10,114.00 AR not Due: Credits/Payments not applied against invoices in system
          Invoice   07/01/2015   1502004-001   TIAA - CREF: 1502004- Market Fair Mall                  09/10/2015     69,243.47      -69,243.47 Duplicate invoice in system. Not Due
          Invoice   10/30/2015   1502004-009   TIAA - CREF: 1502004- Market Fair Mall                  10/30/2015      4,066.00       -4,066.00 AR not Due: Credits/Payments not applied against invoices in system
          invoice   11/18/2015   1502004-011   TIAA - CREF:1502004- Market Fair Mall                   11/18/2015        618.00         -618.00 AR not Due: Credits/Payments not applied against invoices in system
          invoice   11/25/2015   1502004-012   TIAA - CREF:1502004- Market Fair Mall                   12/10/2015         35.53           -35.53 AR not Due: Credits/Payments not applied against invoices in system
          Invoice   12/18/2015   1502004-006   TIAA - CREF: 1502004- Market Fair Mall                  01/10/2016           0.08           -0.08 AR not Due: Credits/Payments not applied against invoices in system
          Invoice   12/15/2016   1502004-018   TIAA - CREF: 1502004- Market Fair Mall                  12/15/2016           0.04           -0.04 AR not Due: Credits/Payments not applied against invoices in system
          Invoice   02/28/2017   1502004-020   TIAA - CREF: 1502004- Market Fair Mall                  02/28/2017           0.25           -0.25 AR not Due: Credits/Payments not applied against invoices in system
          Invoice   06/30/2020   1801007-020   Wanamaker House:Wanamaker House Reno GC- 1801007        08/14/2020      10,897.05   ________ 0.00
Total > 90                                                                                                          2,167,046.87    -772,246.89
TOTAL                                                                                                               3,422,619.77   -1,094,861.70
            Case 22-10609-amc                         Doc 50          Filed 04/08/22 Entered 04/08/22 16:46:10                                Desc Main
                                                                     Document     Page 15 of 70
 Fill in this information to identify the case:

 Debtor name           Scungio Borst & Associates, LLC_____________________________________

 United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)               22-10609(AMC)
                                                                                                                                        □ Check if this is an
                                                                                                                                          amended filing

Official Form 206D
Schedule D; Creditors Who Have Claims Secured by Property                                                                                                    12^
Be as complete and accurate as possible.
1.     Do any creditors have claims secured by debtor's property?
       □ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       ■ Yes. Fill in all of the information below.
                                                                                                                        List Creditors Who Have Secured Claims
                                                                                                                    Column                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim            Value of collateral
                                                                                                                                               that supports this
                                                                                                                    Do not deduct the value    claim
                                                                                                                    of collateral.   T
 2       Federal Resources
         Financial Credit Union                        Describe debtor’s property that is subject to a lien              $3,865,817.13                 Unknown
         Creditor's Name                               See Rider "Schedule D-2.1"
         520 Route 22 East
         Bridgewater, NJ 08807
         Creditor's mailing address                    Describe the lien
                                                       Security Agreement
                                                       Is the creditor an insider or related party?
                                                       ■ No
         Creditor's email address, if known            □ Yes
                                                       Is anyone else liable on this claim?
         Date debt was incurred                        □ No
         March 2020                                    ■ Yes. Fill out Schedule H: Codebtors (Official Form 2Q6H)
         Last 4 digits of account number

         Do multiple creditors have an                As of the petition filing date, the claim is:
         interest in the same property?               Check all that apply
         ■ No                                         □ Contingent
         □ Yes. Specify each creditor,                 □ Unliquidated
         including this creditor and its relative      □ Disputed
         priority.



         Federal Resources
 2.2                                                   Describe debtor's property that is subject to a lien                  $278,511.59      _________ $0.00
       . Financial Credit Union_____
        Creditor's Name                               See Rider "Schedule D-2.2"
         520 Route 22 East
         Bridgewater, NJ 08807
        Creditor's mailing address                    Describe the lien
                                                      Security Agreement
                                                      Is the creditor an insider or related party?
                                                       ■ No
        Creditor's email address, if known            □ Yes
                                                      is anyone else liable on this claim?
        Date debt was incurred                         □ No
                                                       ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply

Official Form 206D                                  Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 2
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                                                                   Document     Page 16 of 70
 Debtor       Scungio Borst & Associates, LLC                                                   Case number (if known)        22-10609(AMC)
              Name

        ■ No                                        Cl Contingent
        □ Yes. Specify each creditor,               □ Unliquidated
        including this creditor and its relative     □ Disputed
        priority.



                                                     .                                ;           <     :                $4,144,328.7
 3    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       2


            List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out orsubmitthis page. If additional pages are needed, copy this page.
        ' Name and address' ;        ' , '                ?' ' ' / < ' ■'                                    On which line in Part 1 did       Last 4 digits of
                                                                                                             you enter the related creditor?   account number for
                                                                                                                                               this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2

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                             “SCHEDULE D-2.1”

Lien on all Debtor’s assets including mechanics lien styled Scungio Borst & Associates, LLC v.
KPG-MCG Curtis Tenant LLC, et al. Philadelphia Court of Common Pleas No. 18-10M0013 and
lawsuit styled Scungio Borst & Associates, LLC v. KPG-MCG Curtis Tenant, LLC, et al.,
Philadelphia Court of Common Pleas No. 190200666

NJ UCC Financing Statement filed 3/31/2020 at Filing No. 53938712
PA UCC Financing Statement filed 3/10/2022 at Filing No. 2022031000943
PA UCC Financing Statement filed 3/10/2022 at Filing No. 2022031000972
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                             “SCHEDULE D-2.2”
Lien on all Debtor’s assets including mechanics lien styled Scungio Borst & Associates, LLC v.
KPG-MCG Curtis Tenant LLC, et al. Philadelphia Court of Common Pleas No. 18-10M0013 and
lawsuit styled Scungio Borst & Associates, LLC v. KPG-MCG Curtis Tenant, LLC, et al.,
Philadelphia Court of Common Pleas No. 190200666

NJ UCC Financing Statement filed 3/31/2020 at Filing No. 53938712
PA UCC Financing Statement filed 3/10/2022 at Filing No. 2022031000987
              Case 22-10609-amc                       Doc 50          Filed 04/08/22 Entered 04/08/22 16:46:10                                       Desc Main
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 Fill in this information to identify the case:

 Debtor name            Scungio Borst & Associates, LLC_____________________________________

 United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)             22-10609(AMC)
                                                                                                                                               □ Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

                 List All Creditors with PRIORITY Unsecured Claims

        1.          Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             □ No. Go to Part 2.

             ■ Yes. Go to line 2.


        2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
             with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

1 2.1        1 Priority creditor’s name and mailing address          As of the petition filing date, the claim is:                    ______ $2,878.27          Unknown
              Internal Revenue Service                               Check all that apply.
              Bankruptcy Section                                     □ Contingent
              P.O. Box 7346                                          □ Unliquidated
              Philadelphia, PA 19101-7346                            □ Disputed

              Date or dates debt was incurred                        Basis for the claim:
                                                                     Form 1065 Taxes
              Last 4 digits of account number                        Is the claim subject to offset?
              Specify Code subsection of PRIORITY                    ■ No
              unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     □ Yes


|2.2     __ 1 Priority creditor's name and mailing address           As of the petition filing date, the claim is:                               $591.80        Unknown
              Internal Revenue Service                               Check all that apply.
              Bankruptcy Section                                     □       Contingent
              P.O. Box 7346                                          □        Unliquidated
              Philadelphia, PA 19101-7346                            □        Disputed


              Date or dates debt was incurred                        Basis for the claim:
                                                                     Form 941 Taxes
              Last 4 digits of account number                        Is the claim subject to offset?
              Specify Code subsection of PRIORITY                    ■ No
              unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                     □ Yes



 Part 2:         List All Creditors with NONPRIORITY Unsecured Claims
        3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
             out and attach the Additional Page of Part 2.
                                                                                                                                                         Amount of claim




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              Name
[3^        Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $196,191.95
          1st Black Hawk LLC                                                  □ Contingent
          715 East Nields Street                                              □ Unliquidated
          West Chester, PA 19382                                              D Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes


I 3,2 _ 1 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          1st State Pest & Home Services                                      n Contingent
          709 Rothwell Drive                                                  □ Unliquidated
          Middletown, DE 08201                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


I 3.3    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $255,810.70
          2M Electric LLC                                                    □ Contingent
          109 Camars Drive                                                   □ Unliquidated
          Warwick, PA 18974                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      Q Yes


         1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $2,209.45
           A&S Sprinkler Co, Inc                                             □ Contingent
           101 E Laurel Avenue                                               d Unliquidated
           Cheltenham, PA 19012                                              □ Disputed
          Date(s] debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes


I 3.5    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $8,631.28
          A. Brooks Roofing Inc.                                             □ Contingent
          701 W. Sth Street                                                  □          Unliquidated
          Palmyra, NJ 08065                                                  □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


I 3.6    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $46,431.26
          AA Glass Industries LLC                                            □ Contingent
          2345 Route 9, Suite #3                                             □ Unliquidated
          Toms River, NJ 08755                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      D Yes

[3^ 1 Nonpriority creditor's name and mailing address                        As of the petition filing date, the claim is: Check all that apply.             $1,537.70
          Aaron Electrical Construction Inc                                  Q Contingent
          229 Beownback Church Road                                          □          Unliquidated
          Spring City, PA 19475                                              □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      D Yes




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                 Name

I 3.8    J Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $1,352.70
              Accessibility Advantage LLC                                    n Contingent
              dba Ameriglide Nepa                                            □ Unliquidated
              1335 Highway 315 #2                                            D Disputed
              Wilkes Barre, PA 18702
                                                                             Basis for the claim:    Trade debt
              Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No □ Yes
              Last 4 digits of account number_

I 3.9    n Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $8,200.54
              Ace Elevator LLC                                               ■ Contingent
              222 W. Atlantic Avenue, Building B                             □ Unliquidated
              Haddon Heights, NJ 08035                                       D Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
              Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      D Yes


I 3.10 2] Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $199.00
              Acme Drapemaster of America                                    □          Contingent
              P.O. Box 192                                                   □          Unliquidated
              Keasby, NJ 08832                                               □          Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No D Yes


I 3.11 21 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.          $28,632.41
              Affordable Fire Protection, Inc.                                ■         Contingent
              540 Hamilton Avenue                                            □          Unliquidated
              Linwood, NJ 08221                                              □          Disputed
              □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtls Lawsuit)
              Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes


1 3.12    1   Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that apply.          $58,769.50
              Alderfer Glass Co.                                             □ Contingent
              144 Telford Pike                                               □ Unliquidated
              Telford, PA 19118                                              □ Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Q Yes


 3.13     1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $45.43
              Alien Reproduction Co., Inc.                                   □ Contingent
              P.O. Box 1413                                                  □ Unliquidated
              Camden, NJ 08101                                               □ Disputed
              □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number_
                                                                             is the claim subject to offset? ■ No □ Yes

13.14     1   Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that apply.            $1,859.65
              ALN Construction, Inc                                          □ Contingent
              104 Sandy Drive                                                □ Unliquidated
              Newark, DE 19713                                               □ Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Q Yes




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              Name

13,15 J Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is; Check all that apply.          $10,415.68
          Altino Concrete Construction LLC                                   □          Contingent
          536 Easton Road                                                    □          Unliquidated
          Horsham, PA 19044                                                  □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No CI Yes


I 3.16   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $23,625.00
          AMC Fire Protection                                                □ Contingent
          1803 Underwood Blvd.                                               □ Unliquidated
          Delran, NJ 07075                                                   □ Disputed
          □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


13.17    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is; Check all that apply.          $12,940.43
          American Direct                                                    Cl Contingent
          11000 Lakeview Avenue                                              □ Unliquidated
          Lenexa, KS 66219                                                   Cl Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

13.18    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $11,255.01
          Ani & Joe Abatement Demolition LLC                                 □ Contingent
          1212 Burlington Avenue                                             □ Unliquidated
          Delanco, NJ 08075                                                  Cl Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Cl Yes

1 3.19   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,265.00
          Apex Builders LLC                                                  n Contingent
          1812 Daly Street                                                   □ Unliquidated
          Philadelphia, PA 19145                                             Cl Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


1 3.20   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $360.00
          Architectural Grille                                               □ Contingent
          42 Second Avenue                                                   Cl Unliquidated
          Brooklyn, NY 11215                                                 □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Cl Yes

13.21 J Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is; Check all that apply.              $566.50
          Armor Masonry Restoration                                          □ Contingent
          96 Monroe Street                                                   □ Unliquidated
          Bristol, PA 19007                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes




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I 3.22    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,429.00
          Atlantic Wall Systems Inc                                           n Contingent
          65 Greenhill Road                                                   □ Unliquidated
          Media, PA 19063                                                     □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes


I 3.23    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $115,650.00
          Avon Brothers, Inc.                                                 □ Contingent
          5021 Industrial Road                                               □ Unliquidated
          Farmingdale, NJ 07727                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

I 3.24   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $21,600.00
          BK Tile & Stone Inc.                                               □          Contingent
          215 Black Meadow Road                                              □          Unliquidated
          Chester, NY 10918                                                  □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No CH Yes


I 3.25   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $15,124.00
          Blue Collar Builders LLC                                            ■ Contingent
          101 Elm Avenue                                                     □ Unliquidated
          North Wales, PA 19454                                              □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

I 3.26   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $31,550.45
          Bocchetto & Lentz                                                  □          Contingent
          1524 Locust Street                                                 □          Unliquidated
          Philadelphia, PA 19102                                             □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Unpaid CostS
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

I 3,27 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check alt that apply.             $1,249.00
          Brandywine Executive Center                                        □ Contingent
          aka TKO Suite                                                      □ Unliquidated
          1521 Concord Pike #301                                             □ Disputed
          Wilmington, DE 19083
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No      Q Yes
          Last 4 digits of account number _

I 3.28 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $21,465.00
          Brandywine Valley Concrete                                         □ Contingent
          131 Wallace Avenue                                                 □ Unliquidated
          Downington, PA 19335                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes




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              Name

I 3.29 n Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.       _______ $0.00
          BRE DDR Retail Holdings III LLC                                     ■     Contingent
          d/b/a Columbus Crossing Shopping Center                             ■     Unliquidated
          1209 N. Orange Street
          Wilmington, DE 19801                                                ■     Disputed

          Date(s) debt was incurred _                                        Basis for the claim:    Personal Injury Litigation
          Last 4 digits of account number_                                    Is the claim subject to offset? ■ No □ Yes

I 3.30   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.       _______ $0.00
          BRE RC Columbus PA LP                                               ■     Contingent
          d/b/a Columbus Crossing Shopping Center                             ■     Unliquidated
          1209 N. Orange Street
          Wilmington, DE 19801                                                ■     Disputed

          Date(s) debt was incurred _                                        Basis for the claim:    Personal Injury Litigation
          Last 4 digits of account number _                                   Is the claim subject to offset? ■ No □ Yes

I 3.31   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $146,655.40
          Bristol Millwork Inc.                                               ■     Contingent
          4560 Tacony Street                                                  □     Unliquidated
          Philadelphia, PA 19124                                              □     Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? ■ No     □ Yes

I 3.32   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $88,663.55
          Bursese Electric Inc.                                               □     Contingent
          1275 Bloomfield Avenue, Building 1-6AR                              □     Unliquidated
          Fairfield, NJ 07004                                                 □     Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes

I 3.33 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $309.00
          Burton & Company                                                    □     Contingent
          1400 Granary Road                                                   □     Unliquidated
          Blue Bell, PA 19422                                                 □     Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


I 3.34   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $78,410.00
          Buttonwood Company, Inc.                                            □ Contingent
          P.O. Box 500                                                        Q Unliquidated
          Eagleville, PA 19408                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Q Yes


 3.35    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $22,502.75
          C Anthony Painting Inc.                                             n Contingent
          199 Heffner Road                                                    □ Unliquidated
          Limerick, PA 19468                                                 □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Q Yes




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I 3.36   J Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $151,981.07
           Cippco Inc.                                                       ■          Contingent
           9323 Keystone Street                                              ■          Unliquidated
           Philadelphia. PA 19114
                                                                             ■          Disputed
              Date(s) debt was incurred _
              Last 4 digits of account number_                               Basis for the claim:    Trade debt (Curtis Lawsuit)
                                                                             Is the claim subject to offset? ■ No d Yes

I 3.37        Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that apply.             $5,509.80
              CMS Mechanical Contracting, Inc.                               □ Contingent
              7 Humphreys Drive                                              □ Unliquidated
              Ivyland, PA 18974                                              d Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      d Yes


I 3.38   n Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $69,300.00
           Coffey Brothers, Inc.                                             d Contingent
           2559 Route 9 North                                                d Unliquidated
           Howell, NJ 07731                                                  d Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No d Yes


I 3.39 n Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $0.00
              Component Assembly Systems, Inc.                               ■          Contingent
              580 Virginia Drive, Suite 140                                  ■          Unliquidated
              Fort Washington, PA 19034
                                                                             ■          Disputed
              Date(s) debt was incurred _
              Last 4 digits of account number_                               Basis for the claim: _

                                                                             Is the claim subject to offset? ■ No      d Yes


I 3.40    1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $1,800.00
            Copeland Surveying Inc                                           d Contingent
            707 White Horse Pike B-3                                         d Unliquidated
            Absecon, NJ 08201                                                d Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      d Yes

I 3.41    1 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $15,252.32
            Corporate Interiors Inc.                                         d Contingent
            226 Lisa Drive                                                   d Unliquidated
            New Castle, DE 19720                                             d Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
              Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      d Yes


I 3.42    1   Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is: Check all that apply.           $50,529.37
              Creative Surfaces, Inc.                                        ■ Contingent
              4 Union Hill Road, Suite 100                                   d Unliquidated
              Conshohocken, PA 19428                                         d Disputed
              Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
              Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      d Yes




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I 3.43     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $108,086.13
           Cypress Door & Glass LLC                                          □ Contingent
           185 Lancaster Avenue                                              □ Unliquidated
           Malvern, PA 19355                                                 □ Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes

I 3.44 21 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,784.69
          DDM Steel                                                          ■          Contingent
          3659 North Delsea Drive                                            □          Unliquidated
          Vineland, NJ 08360                                                 □          Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


I 3.45 2 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $286.94
           De Lage Landen Financial Group                                    □ Contingent
           P.O. Box 41602                                                    □ Unliquidated
           Philadelphia, PA 19101-1602                                       E3 Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

I 3.46 2 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.             $3,985.00
          Delaware Valley Paving Inc.                                        □ Contingent
          144 Telford Pike                                                   □ Unliquidated
          Phoenixville, PA 19460                                             □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes

I 3.47   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $3,123.50
          Dennis Ambrosian! Refinishing                                      □          Contingent
          106 Kent Way                                                       □          Unliquidated
          West Reading, PA 19611                                             □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim;    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes


I 3.48 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.          $117,603.20
          Dennis M. Salvi Associates                                         ■          Contingent
          38 Cedarcrest Ct.                                                  □          Unliquidated
          Doylestown, PA 18901                                               □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      d Yes


I 3.49   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is; Check all that apply.             $1,515.00
          Diamatic Management Services                                       □          Contingent
          13201 N Santa Fe Avenue                                            □          Unliquidated
          Oklahoma, OK 73114                                                 □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes




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I 3.50    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $79.32
          Diamond Huntbach Construction Corp                                 □ Contingent
          500 E Luzerne Street                                               Q Unliquidated
          Unit D                                                             D Disputed
          Philadelphia, PA 19124
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No O Yes
          Last 4 digits of account number_

I 3.51   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $4,691.00
          DiDonato Contracting LLC                                           □         Contingent
          7320 Milnor Street                                                 □         Unliquidated
          Philadelphia, PA 19136                                             □         Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.52   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $1,350.92
          Division 10 Sales                                                  □ Contingent
          135 Cabarrus Avenue E                                              El Unliquidated
          Concord, NC 28025                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.53   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        _______ $0.00
          East Third Media, LLC
                                                                             ■         Contingent
          c/o Wright Partners
          Attn: Carl Wright                                                  ■         Unliquidated
          20 South Olive Street, Suite 203                                   ■         Disputed
          Media, PA 19063
                                                                             Basis for the claim:     Construction Management Contract
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No      □ Yes
          Last 4 digits of account number_

 3.54    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $18,039.00
          EC Fence & Iron Works Inc.                                         □ Contingent
          2941 Felton Road                                                   □ Unliquidated
          Norristown, PA 19401                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes

13.55    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $149,729.15
          Edward B. O'Reilly & Associates, Inc.                              □ Contingent
          30 West Highland Avenue                                            □ Unliquidated
          Philadelphia, PA 19118                                             □ Disputed
          □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

13.56 J Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.           $87,860.00
          Elite Painting Service                                             n Contingent
          600 Deer Road, Suite 10                                            □ Unliquidated
          Cherry Hill, NJ 08034                                              □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes




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I 3.57     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,947.60
          Floors USA                                                          □ Contingent
          555 S Henderson Road                                                □ Unliquidated
          King of Prussia, PA 19406                                           □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim;    Trade debt
          Last 4 digits of account number_
                                                                              Is the claim subject to offset? ■ No     Cl Yes

I 3,58   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check alt that apply.             $92,071.68
          Freedom Glass & Metal, Inc.                                         ■      Contingent
          4 White Horse Pike                                                  □      Unliquidated
          Clementon, NJ 08021                                                 □      Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtls Lawsuit)
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Cl Yes


I 3.59   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $172,641.01
          Fromkin Brothers Inc.                                               □ Contingent
          4510 Adam Circle, UnitE                                             □ Unliquidated
          Bensalem, PA 19020                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Cl Yes

I 3.60   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,428.40
          Fyr-Fyter Sales & Service                                           □ Contingent
          262 Pennington-Lawrenceville Road                                   □ Unliquidated
          Pennington, NJ 08534                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      D Yes

I 3.61   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $49,842.62
          G&E Real Estate Mangement Services, Inc.                            □ Contingent
          1735 Market Street, Suite 4000                                      □ Unliquidated
          Philadelphia, PA 19103                                              □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      Cl Yes

|3.62    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $2,722.50
          Genova, Burns, Giantomasi & Webster                                □ Contingent
          2 Riverside Drive                                                  □ Unliquidated
          Camden, NJ 08103                                                   Cl Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes

|3.63    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $7,844.12
          Gentile Concrete Company                                           □ Contingent
          668 Woodburne Road, Suite 109                                      □ Unliquidated
          Langhorne, PA 19047                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes




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I 3.64 2] Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,657.66
          Giles J. Cannon Inc.                                                □ Contingent
          600 Pusey Avenue                                                    □ Unliquidated
          Collingdale, PA 19023                                               D Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes


I 3.65    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $675.00
          Ground Penetrating Radar Systems                                    Q Contingent
          5217 Monroe Street                                                  □         Unliquidated
          Toledo, OH 43623                                                    □         Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


I 3.66 21 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,125.00
          GTM Signs & Architectural Canopies                                  □ Contingent
          150 Oliphants Mill Road                                             d Unliquidated
          Woolwich, NJ 08085                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes


I 3.67 2 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Hasan Tahiraj                                                       ■         Contingent
          c/o Mullaney & Gjelaj, PLLC                                         ■         Unliquidated
          100-09 Metropolitan Avenue
          Forest Hills, NY 11375                                              ■         Disputed

          Date(s) debt was incurred _                                        Basis for the claim:    Personal Injury Litigation
          Last 4 digits of account number_                                   Is the claim subject to offset? ■ No d Yes


I 3.68   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $330.54
          Heritage Business Systems Inc aka                                  d Contingent
          Stewart Business Systems                                           d Unliquidated
          P.O. Box 936763                                                    d Disputed
          Atlanta, GA 31193-6763
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No d Yes
          Last 4 digits of account number _

I 3.69   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $510.00
          Herman's Trailers                                                  d Contingent
          1325 Mallard Circle                                                d Unliquidated
          Warminster, PA 18974                                               d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes

I 3.70   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $24,542.70
          Hispanic Ventures Inc.                                             d Contingent
          100 North 20th Street, Unit 300                                    d Unliquidated
          Philadelphia, PA 19103                                             d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      d Yes




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I 3.71   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.   ________ $21,999.50
          HK Panels Systems                                                  □ Contingent
          1500 Industry Road, Suite G                                        □ Unliquidated
          Hatfield, PA 19440                                                 □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.72   1 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Ignarri Lummis Architects                                          □ Contingent
          1500 Market Street                                                 □ Unliquidated
          Cherry Hill, NJ 08034-1492                                         □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      Q Yes

1 3.73   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,991.39
          iSign Architectural Signage                                        □          Contingent
          2218 Farmington Avenue                                             EH Unliquidated
          Boyerstown, PA 19512                                               □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No CH Yes

13.74    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $298,456.17
          IT Landes Company                                                  □          Contingent
          247 Main Street                                                    □          Unliquidated
          Harleysville, PA 19438                                             □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes

1 3.75   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $36,100.00
          J&T Brothers LLC                                                   □ Contingent
          620 Deer Road                                                      □ Unliquidated
          Cherry Hill, NJ 08034                                              □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      D Yes


1 3.76   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $70,562.82
          James Floor Covering Inc.                                          ■          Contingent
          2604 Durham Road                                                   ■          Unliquidated
          Bristol, PA 19007
                                                                             ■          Disputed
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Basis for the claim:    Trade debt (Curtis Lawsuit)
                                                                             Is the claim subject to offset? ■ No      □ Yes


1 3.77   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $90,045.00
          JD Fedele Contractors Inc.                                         □ Contingent
          408 Hallowell Avenue                                               □ Unliquidated
          Horsham, PA 19044                                                  □ Disputed
          □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes




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I 3.78   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is; Check all that apply.        $1,029,014.28
          Jersey Construction, inc.                                          □ Contingent
          838 Piney Holiow Road                                              ClUnliquidated
          P.O. Box 557                                                       □ Disputed
          Hammonton, NJ 08037
                                                                             Basis for the claim:     Trade debt
           □ate(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No      Q Yes
           Last 4 digits of account number _

I 3.79   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $20,423.70
          Joseph J. Danieile LLC                                             n Contingent
          710 Trainer Street                                                 □ Unliquidated
          Trainer, PA 19013                                                  □ Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes

I 3.80   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.         $122,210.00
          K & D Ungarini Iron Works, LLC                                     □ Contingent
          56 North Logan Avenue                                              □ Unliquidated
          Trenton, NJ 08609                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No CI Yes

I 3.81   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $66,195.00
          Kennedy Plumbing Heating Mechanical                                CI Contingent
          7 Cedar Hill Court                                                 □ Unliquidated
          Voorhees, NJ 08043                                                 □ Disputed
          □ate(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No D Yes

1 3,82   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $33,668.11
          Kevin J. Bailey & Son LLC                                          □         Contingent
          917 Northwood Avenue                                               □         Unliquidated
          Cherry Hill, NJ 08002                                              □         Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes

1 3.83   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KLS Logistics, Inc.
                                                                             ■         Contingent
          c/o DHL Supply Chain (USA)
          Attn: Legal Department                                             ■         Unliquidated
          360 Westar Boulevard                                               ■         Disputed
          Westerville, OH 43082
                                                                             Basis for the claim:     Construction Management Contract
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No      Cl Yes
          Last 4 digits of account number _

1 3.84 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $0.00
          KPG-MCG Curtis Tenant LLC                                          ■         Contingent
          Keystone Property Group                                            ■         Unliquidated
          125 E. Elm Street, Suite 400
          Conshohocken, PA 19428                                             ■         Disputed

          Date(s) debt was incurred _                                        Basis for the claim: _
          Last 4 digits of account number _                                  Is the claim subject to offset? ■ No      □ Yes




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I 3.85   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,896.13
           LA Glass & Door LLP                                                □ Contingent
           6092 Reega Avenue, Unit B                                          □ Unliquidated
           Egg Harbor Twp., NJ 08234                                         IjI Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes

I 3.86   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $3,980.70
          Lane Group V, LLC                                                  □ Contingent
          119 Quintyness Drive                                                □ Unliquidated
          Wilmington, DE 19807                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      Q Yes


1 3.87   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check alt that apply.   _______ $346,760.45
          Louis N. Rothberg & Son, Inc.                                      □ Contingent
          550 Cedar Avenue                                                   CH Unliquidated
          Middlesex, NJ 08846                                                □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      Cl Yes


1 3.88   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.   ________ $8,128.48
          LVC Windows Blinds & Drapery, Inc.                                 □          Contingent
          345 Harrison Avenue                                                □          Unliquidated
          Garfield, NJ 07026                                                 □          Disputed
          □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      Cl Yes


1 3.89   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $54,529.94
          M&D Doors                                                          □ Contingent
          Brooklyn Navy Yard, Building 500                                   □ Unliquidated
          Brooklyn, NY 11205                                                 □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Cl Yes

1 3.90   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,212.53
          M&S Painting Inc                                                   □          Contingent
          15 E Redmont Road                                                  □          Unliquidated
          Wilmington, DE 19804                                               □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      O Yes

1 3.91   1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $20,562.91
          MAC Sprinkler Inc.                                                 □          Contingent
          3812 W. 9th Street                                                 □          Unliquidated
          Levittown, PA 19057                                                □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Q Yes




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(3.92 n Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.            $33,065.09
             Margulies Hoelzli Architecture, PLLC                            ■          Contingent
             545 8th Avenue                                                  □          Unliquidated
             New York, NY 10018                                              □          Disputed
             Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
             Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No D Yes


1 3.93   I Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $503,247.00
             MARX Sheet Metal & Mechanical Inc.                              □ Contingent
             373 High Street                                                 □ Unliquidated
             Wilkes Barre, PA 18702                                          □ Disputed
             Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
             Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


(3.94    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $149,200.00
           Mayfield Site Contractors                                         □ Contingent
           596 Swedeland Road                                                □ Unliquidated
           King of Prussia, PA 19406                                         □ Disputed
             Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt/ Note Payable
             Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes

1 3.95   1   Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.          $114,620.63
             McCarthy Masonry and Concrete, Inc.                             □ Contingent
             740 E. Cherry Road                                              □ Unliquidated
             Quakertown, PA 18951                                            □ Disputed
             Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
             Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes

[3.96    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check alt that apply.                $680.00
             Med-Tex Services Inc                                            □ Contingent
             P.O. Box 240                                                    □ Unliquidated
             Penns Park, PA 18943                                            □ Disputed
             Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
             Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes

(3.97    1 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,715.00
             Minco Contractors, LLC                                          □ Contingent
             221 Woodward Road                                               Q Unliquidated
             Manalapan, NJ 07726                                             □ Disputed
             Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
             Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No Cl Yes

(3.98    1   Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is: Check all that apply.              $3,764.81
             Mobile Mini, Inc                                                Q Contingent
             4646 East Van Buren Street                                      □ Unliquidated
             Suite 400                                                       □ Disputed
             Phoenix, AZ 85008
                                                                             Basis for the claim:    Trade debt
             Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No D Yes
             Last 4 digits of account number _




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I 3.99 J Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $9,979.34
          Morris Black & Sons, Inc.                                        n Contingent
          984 Marcon Blvd.                                                 □ Unliquidated
          Allentown, PA 18109                                              □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No      □ Yes


I 3.100 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $8,188.86
          MTD Land Surveying Inc.                                          Q Contingent
          204 Byers Road                                                   □         Unliquidated
          Chester Springs, PA 19425                                        □         Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:     Trade debt
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ■ No □ Yes


1 3.101 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $1,512.50
          NAP Construction Company                                         □ Contingent
          765 Louise Drive                                                 n Unliquidated
          Springfield, PA 19064                                            □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No      Q Yes

1 3.102 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $2,513.84
          Narcise Construction Group LLC                                   □ Contingent
          11 Ridge Avenue #352                                             □ Unliquidated
          Brookhaven, PA 19015                                             □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No □ Yes

1 3.103 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $2,767.93
          National Construction Rentals, Inc.                              □ Contingent
          P.O. Box 841461                                                  CD Unliquidated
          Los Angeles, CA 90084                                            □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No      D Yes


1 3.104 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Nerd St. Gamers Localhost Philadelphia                           ■         Contingent
          Attn; John Fazio, CEO
                                                                           B   Unliquidated
          908 North Third Street
          Philadelphia, PA 19123                                           ■         Disputed

          Date(s) debt was incurred _                                      Basis for the claim:     Construction Management Contract
          Last 4 digits of account number _                                Is the claim subject to offset? ■ No      □ Yes


1 3.105 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $25,177.29
          Network Flooring & Maintenance                                   □ Contingent
          101 W Abbey Drive                                                □ Unliquidated
          Townsend, DE 19734                                               □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? i No D Yes




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I 3.106 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is; Check all that apply.           $15,881.75
          Nicholas A. Salamone Contractors                                    ■          Contingent
          146 state Road                                                      □          Unliquidated
          Norristown, PA 19403                                                □          Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? ■ No □ Yes

1 3,107 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $96,750.00
          Nicko's Contracting LLC                                             □          Contingent
          17 Arcadian Drive                                                   □          Unliquidated
          Sicklerville, NJ 08081                                              □          Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? ■ No D Yes


1 3.108 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $11,996.39
          Northeast Fire Proofing                                             □          Contingent
          608 Ryan Avenue                                                     □          Unliquidated
          Westville, NJ 08093                                                 □          Disputed
          Date(s) debt was incurred _
                                                                              Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                              Is the claim subject to offset? ■ No      Q Yes

1 3.109 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                   $0.00
          OASG Hazlet, LLC
                                                                              ■          Contingent
          c/o Onyx Management Group, LLC
          Attn: Samuel Giordano, CFO                                          ■          Unliquidated
          900 Route 9 North, Suite 400                                        ■          Disputed
          Woodbridge, NJ 07095
                                                                              Basis for the claim:    Construction Management Contract
          Date(s) debt was incurred _
                                                                              Is the claim subject to offset? ■ No      □ Yes
          Last 4 digits of account number _

13.110 J Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check alt that apply.               $318.97
          Office Basics, Inc.                                                 □          Contingent
          P.O. Box 2230                                                       □          Unliquidated
          Boothwyn, PA 19061                                                  □          Disputed
          □ate(s) debt was incurred _
                                                                              Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                              Is the claim subject to offset? ■ No      Cl Yes


13.111 J Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is: Check all that apply.         $103,970.07
          Olympic Services, Inc.                                              □ Contingent
          239 Madison Avenue                                                  □ Unliquidated
          Warminster, PA 18974                                                □ Disputed
          □ate(s) debt was incurred _
                                                                              Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                              Is the claim subject to offset? ■ No      O Yes

1 3.112 J Nonpriority creditor's name and mailing address                 '   As of the petition filing date, the claim is: Check all that apply.               $643.60
          Overhead Door Co. of Reading,                                       Cl Contingent
          Chester/Delaware                                                    □ Unliquidated
          901 Delta Avenue                                                    □ Disputed
          Reading, PA 19605
                                                                              Basis for the claim:    Trade debt
          Date(s) debt was Incurred _
                                                                              Is the claim subject to offset? ■ No      □ Yes
          Last 4 digits of account number _




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I 3.113 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check sll that apply.           $23,185.41
          PD Construction Group                                              ■          Contingent
          309 earner Drive                                                   □          Unliquidated
          Bensaiem, PA 19020                                                 □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim;    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      □ Yes


1 3.114 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.         $117,611.40
          Pennsyivania Fiooring                                              ■ Contingent
          66 Ford Road, Suite 141                                            Q Unliquidated
          Denviile, NJ 07834                                                 □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtls Laws uit)
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes


1 3.115 2 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,809.00
          Peter Bradiey Construction inc                                     ■ Contingent
          501 Cambria Avenue                                                 Q Unliquidated
          Bensaiem, PA 19020                                                 □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Q Yes


1 3.116 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.         $245,304.29
          Philadelphia Carpentry Systems                                     Q Contingent
          5 N. Columbus Blvd., Pier 5                                        Q Unliquidated
          Philadelphia, PA 19103                                             □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No D Yes


I 3.117 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $213,000.00
          Philip Borst                                                       □ Contingent
          641 Pugh Road                                                      E] Unliquidated
          Wayne, PA 19087                                                    □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Loans to Debtor
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes


13.118 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.           $11,358.67
          PlanGrid, Inc.                                                     □          Contingent
          Dept LA 24390                                                      □          Unliquidated
          Pasadena, CA 91185                                                 □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Cl Yes


13.119 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.         $147,818.70
          Portugese Structural Steel, Inc.                                   □ Contingent
          255 South Street                                                   □ Unliquidated
          Newark, NJ 07114                                                   n Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      □ Yes




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I 3.120 n Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $835.72
          Power Pak                                                          □          Contingent
          225 N Route 303                                                    Q Unliquidated
          Congers, NY 10920                                                  □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes

1 3,121 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $50,945.23
          Precision Doors & Hardware LLC                                     □          Contingent
          4660 New Design Road, Suite L                                      □          Unliquidated
          Frederick, MD 21703                                                □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes


I 3.122 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,954.75
          Professional Plus Services, Inc.                                   □          Contingent
          3034 Mill Road                                                     □          Unliquidated
          Norristown, PA 19403                                               □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      D Yes


1 3.123 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $251.79
          PSE&G                                                              □          Contingent
          P.O. Box 14106                                                     □          Unliquidated
          New Brunswick, NJ 08906-4106                                       □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.124 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $234,207.70
          RDL Construction LLC                                               □          Contingent
          1044 industrial Drive, Unit 1                                      □          Unliquidated
          West Berlin, NJ 08091                                              □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      d Yes


1 3.125 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $176,233.00
          Reilly Glazing Inc                                                 d Contingent
          200 E. Washington Street                                           d Unliquidated
          Norristown, PA 19401                                               d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? i No d Yes


 3.126 J Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.             $6,930.10
          Revolution Recovery LLC                                            d Contingent
          7333 Milnor Street                                                 d Unliquidated
          Philadelphia, PA 19036                                             d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      d Yes




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I 3.127 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $4,380.50
          Richard R Pucci & Associates                                      □ Contingent
          1765 Stout Drive                                                  □ Unliquidated
          ivyland, PA 18974                                                 □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ■ No Q Yes


I 3.128 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check alt that apply.               $600.00
          Roof Wizards                                                      □ Contingent
          839 Brunswick Avenue, Suite 2                                     □ Unliquidated
          Trenton, NJ 08638                                                 □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No □ Yes

1 3.129 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $37,414.75
          RW Professional Cleaning LLC                                      ■         Contingent
          112 Curnard Street                                                □         Unliquidated
          Wilmington, DE 19804                                              □         Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number_
                                                                           is the claim subject to offset? ■ No Q Yes


1 3.130   Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $96,852.68
          S.A. Comunaie Co. Inc.                                            □ Contingent
          603 Ryan Avenue                                                   □ Unliquidated
          Westville, NJ 08093                                               □ Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ■ No D Yes

1 3.131 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $30,963.37
          Sage Construction Solutions LLC                                   □ Contingent
          140 E. Munsell Avenue, Suite 2                                    □ Unliquidated
          Linden, NJ 07306                                                  d Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                           Is the claim subject to offset? ■ No □ Yes

1 3,132 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.           $33,374.47
          Schaibles Mechanical LLC                                          □         Contingent
          241 Van Syckles Road                                              □         Unliquidated
          Hampton, NJ 08827                                                □          Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                           is the claim subject to offset? ■ No □ Yes

1 3.133 J Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $855.90
          Schindler Elevator Corporation                                   C        ] Contingent
          P.O. Box 70433                                                   □          Unliquidated
          Chicago, IL 60673                                                □          Disputed
          Date(s) debt was incurred _
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                           Is the claim subject to offset? ■ No      □ Yes




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I 3.134 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Scope FLP Pennington SM, LLC
                                                                             ■         Contingent
          Attn; Didier Choukroun, Manager
          One Biscayne Tower                                                 ■         Unliquidated
          2 South Biscayne Boulevard, Suite 2000                             ■         Disputed
          Miami, FL 33131
                                                                             Basis for the claim:     Construction Management Contract
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No      Q Yes
          Last 4 digits of account number_

I 3.135 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $97,832.00
          Scungio & Company                                                  □ Contingent
          117 Moore Drive                                                    □ Unliquidated
          Media, PA 19063                                                    □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Loans to Debtor
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.136 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,168.00
          Scungio Borst International                                        □ Contingent
          117 Moore Drive                                                    □ Unliquidated
          Media, PA 19068                                                    □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Loans to Debtor
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.137 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,644.90
          Set Rite Corp.                                                     □ Contingent
          5790 Bristol Pike                                                  □ Unliquidated
          Bristol, PA 19007                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.138 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,080.00
          Shambaugh & Son LP                                                 □ Contingent
          7614 Opportunity Drive                                             d Unliquidated
          Fort Wayne, IN 46825                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes


I 3.139 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Shopping Center Associates
                                                                             ■         Contingent
          c/o Simon Construction Group
          Attn: Michael E. McCarty, President                                ■         Unliquidated
          225 West Washington Street, 9th Floor                              ■         Disputed
          Indianapolis, IN 46204
                                                                             Basis for the claim:     Construction Management Contract
          Date(s) debt was incurred _
                                                                             Is the claim subject to offset? ■ No      D Yes
          Last 4 digits of account number _

1 3.140 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $723.00
          Snyder Mfg. Co                                                     □ Contingent
          6228 S. Troy Circle                                                □ Unliquidated
          Centennial, CO 80111                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:     Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      Q Yes




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I 3.141 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $120,195.55
          SSC Distributors Inc.                                              Q Contingent
          3130 W. 4th Street                                                 □ Unliquidated
          Chester, PA 19013                                                  □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.142 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $79,015.11
          Summit Architectural Metals & Glass                                □          Contingent
          920 Eldridge Drive, Suite G                                        □          Unliquidated
          Hagerstown, MD 21740                                               □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No □ Yes


1 3.143 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,552.57
          Superior Scaffold Services Inc.                                    ■ Contingent
          600 Center Avenue                                                  □ Unliquidated
          Bensalem, PA 19020
                                                                             Q   Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtls Lawsuit)
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Cl Yes


1 3.144   Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,810.10
          Tandem Associates, Inc.                                            □ Contingent
          P.O. Box 966                                                       n Unliquidated
          Mt. Laurel, NJ 08054                                               D   Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim;    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No D Yes


1 3.145 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.             $9,458.46
          TDR Systems Inc.                                                   ■ Contingent
          t/a CHUTES International                                           □ Unliquidated
          33 Industrial Park Drive                                           □ Disputed
          Waldorf, MD 20602
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number_                                   Is the claim subject to offset? ■ No      Cl Yes

I 3.146 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.             $2,232.56
          The Arthur Jackson Company                                         □ Contingent
          7025 West Chester Pike                                             Cl Unliquidated
          Upper Darby, PA 19082                                              □ Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim;    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No D Yes


1 3.147 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          TKO 6 Corp a/k/a TKO Suites                                        ■          Contingent
          1521 West Concord Pike                                             ■          Unliquidated
          Suite 301
          Wilmington, DE 19803                                               ■          Disputed

          Date(s) debt was incurred _                                        Basis for the claim;    License Agreement
          Last 4 digits of account number _                                  is the claim subject to offset? ■ No      D Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 22 of 24
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case 22-10609-amc                         Doc 50           Filed 04/08/22 Entered 04/08/22 16:46:10                                     Desc Main
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 Debtor                 io Borst & Associates, LLC                                                     Case number (if known)           22'
              Name

1 3.148 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $34,355.44
          Town and Country Roofing & Siding                                  ■          Contingent
          4775 Lerch Road                                                    □          Unliquidated
          Bensalem, PA 19020                                                 □          Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt (Curtis Lawsuit)
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes


I 3.149 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $123,257.56
          Tri-State Fabrication                                              □ Contingent
          P.O. Box 11003                                                     □ Unliquidated
          Wiimington, DE 19850                                               d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim: _
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No      D Yes


1 3.150 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,143.35
          Troost Fire Protection                                             □ Contingent
          58 Hyatt Road                                                      □ Unliquidated
          Branchviile, NJ 07826                                              □ Disputed
          □ate(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Q Yes


1 3.151 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.           $35,453.02
          United Rentals                                                     □ Contingent
          P.O. Box 100711                                                    d Unliquidated
          Atlanta, GA 30384-0711                                             d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes


1 3.152 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is; Check all that apply.             $4,714.57
          United Site Services                                               d Contingent
          P.O.Box 5502                                                       d Unliquidated
          Binghamton, NY 13902                                               d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      d Yes

1 3.153 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,000.13
          United States Roofing Corp.                                        d Contingent
          910 E. Main Street, Suite 300                                      d Unliquidated
          Norristown, PA 19401                                               d Disputed
          Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No      d Yes

1 3.154 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Valetta                                                            ■          Contingent
          55 Wood Ridge Road                                                 ■          Unliquidated
          Thornton, PA 19373
                                                                             ■          Disputed
          Date(s) debt was incurred _
          Last 4 digits of account number _                                  Basis for the claim: _

                                                                             Is the claim subject to offset? ■ No      d Yes




Official Form 206 E/F                                         Schedule E/F; Creditors Who Have Unsecured Claims                                              Page 23 of 24
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 Debtor       Scungio Borst & Associates, LLC                                                         Case number (if known)            22-10609(AMC)
              Name

I 3.155 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $146,116.40
           VIP Construction Services, Inc.                                   □ Contingent
           15 Fresh Ponds Road                                               □ Unliquidated
           Monroe Twp., NJ 08831                                             □ Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number_
                                                                             Is the claim subject to offset? ■ No D Yes


I 3.156 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,605.00
           Wilkinson Inc                                                     □         Contingent
           2200 Flowing Springs Road                                         Q Unliquidated
           Chester Springs, PA 19425                                         □         Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No d Yes


I 3.157 J Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $215,738.83
           William Walter Construction Group LLC                             □ Contingent
           1431 N. Tuckahoe Road                                             □ Unliquidated
           Williamstown, NJ 08094                                            □ Disputed
           Date(s) debt was incurred _
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number _
                                                                             Is the claim subject to offset? ■ No Q Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Parti or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4;      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.       $ _________________ 3,470.07
 5b. Total claims from Part 2                                                                             5b.   +   $               8,216,566.74

 5c. Total of Parts 1 and 2
                                                                                                          5c.       $_                       8,220,036.81
      Lines 5a + 5b = 5c.




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 24 of 24
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            Case 22-10609-amc                        Doc 50           Filed 04/08/22 Entered 04/08/22 16:46:10                         Desc Main
                                                                     Document     Page 43 of 70
 Fill in this information to identify the case:

 Debtor name         Scungio Borst & Associates, LLC_____________________________________

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         22-10609(AIVIC)
                                                                                                                                   □ Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases________________                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
        □ No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      ■ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal                Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing addre0 for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                  lease '          ■■ ?

 2.1.         State what the contract or                  Collective Bargaining
              lease is for and the nature of              Agreement with the
              the debtor's interest                       Carpenters Union of
                                                          Philadelphia
                  State the term remaining
                                                                                      Carpenters Union of Philadelphia
              List the contract number of any                                         10401 Decatur Road
                    government contract                                               Philadelphia, PA 19154


 2.2.         State what the contract or                  Non-residential real
              lease is for and the nature of              estate lease for
              the debtor's interest                       property located at One
                                                          Port Center, 2 Riverside
                                                          Drive, Suite 500,
                                                          Camden, NJ 08101            Delaware River Port Authority of
                  State the term remaining                                            Pennsylvania and New Jersey
                                                                                      2 Riverside Drive
              List the contract number of any                                         P.O. Box 1949
                    government contract                                               Camden, NJ 08101-1949


 2.3.        State what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - Wright
                                                          Partners Headquarters       East Third Media, LLC
                  State the term remaining                                            c/o Wright Partners
                                                                                      Attn: Carl Wright
              List the contract number of any                                         20 South Olive Street, Suite 203
                    government contract                                               Media, PA 19063


 2.4.        State what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - PLCB
                                                          Warehouse
                                                          Improvements Phase 1        KLS Logistics, Inc.
                  State the term remaining                                            c/o DHL Supply Chain (USA)
                                                                                      Attn: Legal Department
              List the contract number of any                                         360 Westar Boulevard
                    government contract                                               Westerville, OH 43082


Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 3
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 Debtor 1     Scungio Borst & Associates, LLC                                                   Case number {ifknown)   22-10609(AMC)
              First Name               Middle Name                   Last Name


nn Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                ■    ■       ■\           ?   /■;                          ■       lease•                                       ■ <•      ■ ■


 2.5.        state what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - PLCB
                                                          Warehouse
                                                          Improvements Phase 2         KLS Logistics, Inc.
                    State the term remaining                                           c/o DHL Supply Chain (USA)
                                                                                       Attn: Legal Department
             List the contract number of any                                           360 Westar Boulevard
                   government contract                                                 Westervillle, OH 43082


 2.6.        State what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - Localhost -
                                                          Philadelphia, PA & NSG
                                                          HQ
                    State the term remaining                                           Nerd St. Gamers Localhost Philadelphia
                                                                                       Attn: John Fazio, CEO
             List the contract number of any                                           908 North Third Street
                   government contract                                                 Philadelphia, PA 19123


 2.7.        State what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - Bubbakoos
                                                          Burritos                     OASG Hazlet, LLC
                    State the term remaining                                           c/o Onyx Management Group, LLC
                                                                                       Attn: Samuel Giordano, CFO
             List the contract number of any                                           900 Route 9 North, Suite 400
                   government contract                                                 Woodbridge, NJ 07095


 2.8.        State what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - Bubbakoos
                                                          Burritos                     OASG Hazlet, LLC
                    State the term remaining                                           c/o Onyx Management Group, LLC
                                                                                       Attn: Samuel Giordano, CFO
             List the contract number of any                                           900 Route 9 North, Suite 400
                   government contract                                                 Woodbridge, NJ 07095


 2.9.        State what the contract or                   Water Filter Equipment
             lease is for and the nature of               Rental Agreement
             the debtor's interest

                    State the term remaining                                           Quench
                                                                                       630 Allendale Road
             List the contract number of any                                           Suite 200
                   government contract                                                 King of Prussia, PA 19406


 2.10.       State what the contract or                   Construction                 Scope FLP Pennington SM, LLC
             lease is for and the nature of               Management Contract          Attn: Didier Choukroun, Manager
             the debtor's interest                        Project - Pennington         One Biscayne Tower
                                                          Medical                      2 South Biscavne Boulevard, Suite 2000
Official Form 206G                                  Schedule G: Executory Contracts andiySWfiliji^                                            Page 2 of 3
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 Debtor 1     Scungio Borst & Associates, LLC                                                 Case number {ifknown)   22-10609(AIVIC)
              First Name               Middle Name                   Last Name


■BH Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract Or unexpired
                                                                                   lease

                  State the term remaining

             List the contract number of any
                   government contract       _________________


 2.11.       State what the contract or                   Construction
             lease is for and the nature of               Management Contract
             the debtor's interest                        Project - Menlo Park
                                                          Mall (Redevelopment of
                                                          Macaroni/ Grill for True
                                                          Food Kitchen and
                                                          Shake Shack)                 Shopping Center Associates
                  State the term remaining                                             c/o Simon Construction Group
                                                                                       Attn: Michael E. McCarty, President
             List the contract number of any                                           225 West Washington Street, 9th Floor
                   government contract                                                 Indianapolis, IN 46204


 2.12.       State what the contract or                   License Agreement in
             lease is for and the nature of               connection to office
             the debtor's interest                        space located at 1521
                                                          West Concord Pike,
                                                          Suite 301, Wilmington,
                                                          DE 19803
                  State the term remaining                                             TKO 6 Corp a/k/a TKO Suites
                                                                                       1521 West Concord Pike
             List the contract number of any                                           Suite 301
                   government contract                                                 Wilmington, DE 19803




Official Form 206G                                Schedule G: Executory Contracts and Unexpired Leases                                        Page 3 of 3
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                                                                     Document     Page 46 of 70
 Fill in this information to identify the case:

 Debtor name         Scungio Borst & Associates, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         22-10609(AMC)
                                                                                                                           □ Check if this is an
                                                                                                                             amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

        1.        Do you have any codebtors?

 □ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 ■ Yes

   2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
        on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
              Column 1: Codebtor                                                             :          Column 2: Creditor             T



              Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Alessandra                         641 Pugh Road                                     Federal Resources              ■D    2.1
             Tosolini - Borst                   Wayne, PA 19087                                   Financial Credit               □ E/F____
                                                Limited Collateral Guaranty                       Union
                                                                                                                                 □ G____




    2.2      Alessandra                        641 Pugh Road                                      Federal Resources              ■D    2.2
             Tosolini - Borst                  Wayne, PA 19087                                    Financial Credit               □ E/F
                                               Limited Collateral Guaranty                        Union
                                                                                                                                 □ G____




    2.3       Brooklyn Kings                   c/o Simmons Jannace DeLuca, LLP                    Hasan Tahiraj                  □ D____
              Plaza, LLC                       43 Corporate Drive                                                                ■ E/F  3.67
                                               Hauppauge, NY 11788                                                               □ G____
                                               Co-Defendant




    2.4       Curtis Center TIC                 123 E. Elm Street, Suite 400                      James Floor                    □ D____
              I LLC                             Conshohocken, PA 19428                            Covering Inc.                  ■ E/F  3.76
                                                Co-Defendant                                                                     □ G____




    2.5      Curtis Center TIC                  125 E. Elm Street, Suite 400                      James Floor                    □ D____
             II LLC                             Conshohocken, PA 19428                            Covering Inc.                  ■ E/F  3.76
                                                Co-Defendant                                                                     □ G____




Official Form 206H                                                            Schedule H: Your Codebtors                                     Page 1 of 4
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 Debtor       Scungio Borst & Associates, LLC                                                Case number (if known)   22-10609(AMC)


            Additional Page to List More Codebtors
            Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
             Column 1: Codebtor                                                         Column 2: Creditor



    2.6      DAS Architects                    8 Penn Center, Suite 100                           Component                    □ D_
             Inc.                              Philadelphia, PA 19103                             Assembly Systems,            ■ e/f_ 3.39
                                               Additional Defendant                               Inc.                         □ G__




    2.7      DAS Architects                    8 Penn Center, Suite 100                           Cippco Inc.                  □ D__
             Inc.                              Philadelphia, PA 19103                                                          ■ e/f 3.36
                                               Additional Defendant                                                            □ G_




    2.8      DAS Architects                    8 Penn Center, Suite 100                           KPG-MCG Curtis               □ D__
             Inc.                              Philadelphia, PA 19103                             Tenant LLC                   ■ e/f_ 3.84
                                               Additional Defendant                                                            □ G_




    2.9      David White                        1005 Kendron Avenue                               KPG-MCG Curtis               □ D_
                                                Morton, PA 19070                                  Tenant LLC                   ■ e/f_ 3.84
                                                Defendant                                                                      □ G__




    2.10     Delaware River                     121 N. Columbus Blvd.                             Valetta                      □ D_
             Waterfront                         Philadelphia, PA 19106                                                         ■ E/F 3.154
             Corporation                        Co-Defendant                                                                   □ G_




    2.11     Eclipse                            1725 N. Strongs Road                              Hasan Tahiraj                □ D__
             Construction                       Copiague, NY 11726                                                             ■ e/f_ 3.67
             Services, Inc.                     Co-Defendant                                                                   □ G_




    2.12     Groundswell                        1639 North Hancock Street, Suite 407              Valetta                      □ D_
             Design Group                       Philadelphia, PA 19122                                                         ■ E/F 3.154
             LLC                                Co-Defendant                                                                   □ G_—




    2.13     Interface Studio                   1400 N. American Street, Unit 301                 Valetta                      □ D_
             Architects LLC                     Philadelphia, PA 19122                                                         ■ E/F_ 3.154
                                                Co-Defendant                                                                   □ G_—




Official Form 206H                                                            Schedule H: Your Codebtors                                  Page 2 of 4
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 Debtor       Scungio Borst & Associates, LLC                                                Case number (if known)   22-10609(AMC)


            Additional Page to List More Codebtors
            Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
             Column 1: Codebtdr                                                         Column 2: Creditor



    2.14     Keystone                           125 E. Elm Street, Suite 400                      James Floor                  □ D_____
             Property Group                     Conshohocken, PA 19428                            Covering Inc.                ■ E/F  3.76
                                                Co-Defendant                                                                   □ G_____




    2.15     KPG-MCG Curtis       116 Pine Street, Suite 320                                      Component                    □ D_____
             Tenant LLC     3rd Floor                                                             Assembly Systems,            ■ E/F  3.39
                                  Harrisburg, PA 17101                                            Inc.
                                                                                                                               □ G_____
                                  Co-Defendant




    2.16     KPG-MCG Curtis                     125 E. Elm Street, Suite 400                      Cippco Inc.                  □ D__
             Tenant LLC                         Conshohocken, PA 19428                                                         ■ e/f_ 3.36
                                                Additional Defendant                                                           □ G_




    2.17     KPG-MCG Curtis                     125 E. Elm Street, Suite 400                      James Floor                  □ D_
             Tenant LLC                         Conshohocken, PA 19428                            Covering Inc.                ■ E/F 3.76
                                                Co-Defendant                                                                   □ G_




    2.18     Penn Outdoor                      2549 Industry Lane                                 BRE DDR Retail               □ D_
             Services LLC                      East Norriton, PA 19403                            Holdings III LLC             ■ E/F 3.29
                                               Additional Defendant                                                            □G




    2.19     Penn Outdoor                      2549 Industry Lane                                 BRE RC Columbus              □ D____ _
             Services LLC                      East Norriton, PA 19403                            PA LP                        ■ E/F  3.30
                                               Additional Defendant
                                                                                                                               □ G_____




    2.20     Philip L. Borst                   641 Pugh Road                                      Mayfield Site                □ D._____
                                               Wayne, PA 19087                                    Contractors                  ■ E/F   3.94
                                                                                                                               □ G_____




    2.21     Philip L. Borst                   641 Pugh Road                                      Federal Resources            ■D    2.1
                                               Wayne, PA 19087                                    Financial Credit             □ E/F_____
                                                                                                  Union
                                                                                                                               □ G_____




Official Form 206H                                                            Schedule H: Your Codebtors                                  Page 3 of 4
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 Debtor       Scungio Borst & Associates, LLC                                                Case number (ifknown)   22-10609(AMC)


             Additional Page to List More Codebtors
            Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
             Column 1: Codebtor                                                         Column 2: Creditor



    2.22      Philip L. Borst                   641 Pugh Road                                     Federal Resources           ■d_ 2.2
                                                Wayne, PA 19087                                   Financial Credit            □ E/F
                                                                                                  Union
                                                                                                                              □ G_




                                                                                                                             □ ■ □
    2,23      Scott P. Scungio                  117 Moore Drive                                   Mayfield Site




                                                                                                                                     Q
                                                                                                                                             It
                                                Media, PA 19063                                   Contractors




                                                                                                                                     LU
                                                                                                                                                         3.94




                                                                                                                                     O
                                                                                                                                             1
    2.24      Scott P. Scungio                  117 Moore Drive                                   Federal Resources




                                                                                                                                     Q
                                                                                                                                                      2.1
                                                Media, PA 19063                                   Financial Credit




                                                                                                                                             111.’
                                                                                                                                     UJ CD
                                                                                                  Union




                                                                                                                                             1
    2.25      Scott P. Scungio                  117 Moore Drive                                   Federal Resources           ■d_                     2.2
                                                Media, PA 19063                                   Financial Credit            □ E/F
                                                                                                  Union
                                                                                                                              □ G_




    2.26     Scott P. Scungio                   117 Moore Drive                                   TKO 6 Corp a/k/a            □ D_
                                                Media, PA 19063                                   TKO Suites                  ■ E/F                      3.147
                                                                                                                              □ G_




    2.27     William Walter                     1431 North Tuckahoe Road                          Valetta                     □ D_
             Construction                       Williamstown, NJ 08094                                                        ■ E/F                      3.154
             Group LLC                          Co-Defendant
                                                                                                                              □ G_




Official Form 206H                                                            Schedule H; Your Codebtors                                                 Page 4 of 4
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                                                                                                                                                                                     iiS#
  Fill in this information to identify the ease:                                                                                                                    is

  Debtor name         Scungio Borst & Assodates, LLC                                        ______ ■                                                        f*
  United States Bankrupt!^ Court tor the:             EASTERN DISTRICT OF PENNSYLVANIA (                                                                      g                 WMSjl
 giee|Pm§KBlB8^(B8^MSi^(WO(iIB(((B(((S((i((((((((H((B
                                                                                                                                                 □ Check if this is an
                                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                                                        (82/11

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING ~ Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
1513, and 3S71. '



                 Declaration and signature

        i am the president, another officeri or an authorized agent of the corporation: a member of an authorized agent of thlpaftojprehfp: pfanother
        (indiyiduel eerying aS a Representative of the debtor in this case.

        I have examinel the information in the documents checked below and I have a reasonable belief that the information is true and correct:                          <

                   Scti^dule A/B:Assets-Real and Personal Property (Official Form 206A/B)

          ■        Schedule D: Creditors , Who Have Clairns Secured by Property (Oiricial Form 20QD)
                   Schedule &F: Credilors Who Have Unsecured Claims                         Form 206F.IF)

         ■         Schedule G: Executory Contracts and Unexpired Leases {Ciiidai Form 20SG)
                   Scheduie H.' Codebfors (Official Form 206H)
                   Summary ofAssetsand Liabilities for Non-lndividuals (Official Form 206Sum)
         □         Amended Schedule
         □         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Hot Insiders (Officlai Form 204)
         □         Other document that requires a declaration___________________________________________________________________ __

        1 declare under penalty of perjury that the foregoing is true and correct.

         Executed on
                                                                        Si^jatore of individual signing' onbehsif of deBtew..^

                                                                        Scott P. Scungio               ........... .. ............ ........ ..
                                                                        Printed name

                                                                        Managing Member of Scungio & Company, LLC, Member
                                                                        Position or relationship to debtor




Official Form 202                                               Declaration Under Penally of Perjury for Non-lndividual Debtors
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 Fill in this information to identify the case:

 Debtor name         Scungio Borst & Associates, LLC_______________________________________

 United States Bankruptcy Court for the:             EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)         22-10609(AIVIC)
                                                                                                                                       □ Checkifthisisan
___________________________________________________________________________________________                                              amended filing



Official Form 207
Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Parti:

     Gross revenue from business

      O None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   0 Operating a business                     _______ $1,024,750.59
       From 1/01/2022 to Filing Date
                                                                                               □ Other __________________


       For prior year:                                                                         @ Operating a business                             $15,586,586.00
       From 1/01/2021 to 12/31/2021
                                                                                               □ Other __________________


       For year before that:                                                                   12 Operating a business                            $16,442,842.00
       From 1/01/2020 to 12/31/2020
                                                                                               Q other __________________


       For the fiscal year:                                                                    0 Operating a business                             $26,471,997.00
       From 1/01/2019 to 12/31/2019
                                                                                               □ Other __________________

2.    Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
     and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      H None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3.    Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers-including expense reimbursements~to any creditor, other than regular employee compensation, within 90 days before
     filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      Q None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check ali that appiy
Official Form 207                                   Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                   page 1

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        Creditor's Name and Address                                         Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that hpply
        ?1
               See Rider "SOFA 3"                                                                                   $0.00        □ Secured debt
                                                                                                                                 □ Unsecured loan repayments
                                                                                                                                 I I Suppliers or vendors
                                                                                                                                 Q Services
                                                                                                                                   Q other__



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      O None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Rider "SOFA 4"                                                                                   $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      H None

       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      0 None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
     in any capacity—within 1 year before filing this case.

      □ None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Fee V. BRE RC Columbus PA                         Personal Injury            Philadelphia County Ct. of                H Pending
               LP d/b/a Columbus Crossing                        Litigation                 Common Pleas                              □ On appeal
               Shopping Center, et al.                                                                                                Q Concluded
               20-001159

       7.2.    Tahiraj v. Brooklyn Kings                         Personal Injury            Supreme Court of the State                H Pending
               Plaza, LLC, et al.                                Litigation                 of New York                               Q On appeal
               513231/2016                                                                                                            □ Concluded

       7.3.    Scungio Borst & Associates,                       Breach of                  Philadelphia County Ct. of                12 Pending
               LLC V. KPG-MCG Curtis                             Contract                   Common Pleas                              Q On appeal
               Tenant, LLC, et al.                                                                                                    Q Concluded
               XX-XXXXXXX


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                Case title                                       Nature of case            Court or agency's name and                 Status of case
                Case number                                                                address
        7.4.   Scungio Borst & Associates,                       Mechanics Lien            Philadelphia County Ct. of                  2 Pending
               LLC V. KPG-MCG Curtis                             Litigation                Common Pleas                                 1 On appeal
               Tenant, LLC, et al.                                                                                                     □1 Concluded
               18-10M0013

        7.5.   KPG -MCG Curtis Tenant, LLC                       Breach of                 Philadelphia County Ct. of                 0 Pending
               V. Scungio Borst &                                Contract                  Common Pleas                               Q On appeal
               Associates, LLC                                                                                                        □ Concluded
               XX-XXXXXXX

        7.6.   Cippco, Inc. V. Scungio Borst                     Braech of                 Philadelphia County Ct. of                  2 Pending
               & Associates, LLC                                 Contract                  Common Pleas                                  On appeal
               XX-XXXXXXX                                                                                                                Concluded

        7.7.   Component Assemby                                 Breach of                 Philadelphia County Ct. of                 0 Pending
               Systems, Inc. v. KPG-MCG                          Contract                  Common Pleas                               Q On appeal
               Curtis Tenant, LLC, et al.                                                                                             □ Concluded
               XX-XXXXXXX

        7.8.   James Floor Covering, Inc. v.                     Mechanics Lien            Philadelphia County Ct. of                 0 Pending
               Curtis Center TIC I LLC, et al.                                             Common Pleas                               □ On appeal
               19-04M0024                                                                                                             Q Concluded

        7.9.   James Floor Covering, Inc. v.                     Mechanics Lien            Philadelphia County Ct. of                 0 Pending
               Curtis Center TIC II LLC, et al.                                            Common Pleas                               □ On appeal
               19-04M0027                                                                                                             □ Concluded

        7.10 Valetta v. Delaware River                           Personal Injury           Court of Common Pleas                      0 Pending
               Waterfront Corp., et al.                                                    City Hall, Room 336                        Q On appeal
               200901780                                                                   Philadelphia, PA 19107                     □ Concluded


8.     Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before fiiing this case and any property in the hands of a
      receiver, custodian, or other court-appointed officer within 1 year before fiiing this case.

       12 None


 Part 4:       Certain Gifts and Charitable Contributions

9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
      the gifts to that recipient is less than $1,000

       o None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value

        9.1.          See Rider "SOFA 9"
                                                                                                                                                                  $0.00

               Recipients relationship to debtor




 Parts:        Certain Losses

10.    All losses from fire, theft, or other casualty within 1 year before filing this case.

      0 None




Official Form 207                                   Statement of Financial Affairs for Non-Individuais Filing for Bankruptcy                                       page 3

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          Description of the property lost and                    Amount of payments received for the loss                   Dates of loss               Value of property
        ■ how the loss, occurred ■ \ \                       :                       ■ ■        ■       ’L                       ■              ■ ■                   lost
                                                                  Ifyou have received payments to cover the loss, for
                                                                  example, from insurance, government compensation, or
                                                                  tortliability,iistthetotalreceived. <

                                                                  List unpaid claims on Official Form ) 05/k/B (Schedule
                                                                  A/B: Assets -Real and Personal Property).

                Certain Payments or Transfers

11.     Payments related to bankruptcy
      List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
      of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
      relief, or filing a bankruptcy case.

       □ None.

                 Who was paid or who received                         If not money, describe any property transferred           Dates                     Total amount or
                 The'transfer?'                                            <   V                                                            '                      value
                 Address                                                                                                        \       '
        11.1.    Karalis PC
                 1900 Spruce Street                                                                                             February
                 Philadelphia, PA 19103                               ____________________________________                      28. 2022                      $37,000.00

                 Email or website address
                 www.karalislaw.com

                 Who made the payment, if not debtor?
                 Debtor


        11.2.    Karalis PC
                 1900 Spruce Street                                                                                             March 2,
                 Philadelphia, PA 19103                                                                                         2022                          $15,168.00

                 Email or website address
                 akaralis@karalislaw.com
                 Who made the payment, if not debtor?
                 Scungio Borst International


        11.3.    Karalis PC
                 1900 Spruce Street                                                                                             March 2,
                 Philadelphia, PA 19103______                         ____________________________________                      2022______                    $47,832.00

                 Email or website address
                 akaralis@karalislaw.com

                 Who made the payment, if not debtor?
                 Scott P. Scungio/Scungio &
                 Company



12.     Self-settled trusts of which the debtor is a beneficiary
      List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
      to a self-settled trust or similar device.
      Do not include transfers already listed on this statement.

       121 None.

        Name of trust or device                                       Describe any property transferred                    Dates transfers                Total amount or
                                                                                                                           were made                               value

13.     Transfers not already listed on this statement
      List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
Official Form 207                                    Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                          page 4
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     2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
     both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      0 None.

               Whc» received transfer?                           Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

  Part?:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      O Does not apply

                Address^^^^^^^^^^^^^^^^^^^                                                                                 Dates of occupancy
                                                                                                                           From'n’o
       14.1.    1521 Concord Pike, Suite 320                                                                               April 2019 to March 2022
                Wilmington, DE 19803

       14.2.     117 Moore Drive                                                                                           April 2019 to March 2022
                 Media, PA 19063

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    is the debtor primarily engaged in offering services and facilities for;
    -     diagnosing or treating injury, deformity, or disease, or
    -     providing any surgical, psychiatric, drug treatment, or obstetric care?

      0     No. Go to Part 9.
      □     Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      60    No.
      O     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401 (k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      3     No. Go to Part 10.
      2     Yes. Does the debtor serve as plan administrator?

                    El No Go to Part 10.
                    □ Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18.     Closed financial accounts
      Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
      moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
      cooperatives, associations, and other financial institutions.

       12 None
              Financial Institution name and                    Last4 digits of            Type of account of         Date account was
              Address                                           acppunt number             instrument                 closed, sold,             before closing or
          ■•   .      /                                            ■            .        •              <              moved, or • '           • ’' ?    transfer'
                                                                                                                       transferred

19.     Safe deposit boxes
      List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
      case.


       E None

        Depository institution name and address                       Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20.     Off-premises storage
      List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
      which the debtor does business.


       Q None

        Facility name and address                                     Names pf anyone with                Description of the contents                Do youstill
                                                                      access to it                                                               have it?
        Extra Space Storage                                           Scott Scungio                       Miscellaneous Tools and                □ No
        7480 Crescent Boulevard                                       117 Moore Drive                     Storage                                   EYes
        Pennsauken, NJ 08109                                          Media, PA 19063

                                                                       Omayra Borrero



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21.     Property held for another
      List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
      not list leased or rented property.

      E None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

       Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
       owned, operated, or utilized.

       Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
       similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22.    Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      E     No.
      □     Yes. Provide details below.


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        Case title                                                    Court or agency narne and           Nature of the case                            Status of case
        Case number                                                   address

23.    Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
      environmental law?

       n     No.
       53    Yes. Provide details below.

        Site name and address                                         Governmental unit name and               Environmental lavvj if known             Date of notice
                                                                      address
        Lincoln Plaza                                                  Bucks County Conservation              The Clean Streams Law,                    January 25,
        Route 1 and Oxford Valley Road                                 District                               the Act of 2937 as                        2019
        Langhorne, PA 19047                                            1456 Ferry Road #704                   amended, 35 P.S. Section
                                                                       Doylestown, PA 18901                   691.1 et seq.


24.     Has the debtor notified any governmental unit of any release of hazardous material?

       0     No.
       O     Yes. Provide details below.

        Site name and address                                         Governmental unit name and              Environmental law, if known               Date of notice
                '/                                                    address                                         :      •    :    '

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25.     Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
      Include this information even if already listed in the Schedules.

       0 None

      Business name address                                    Describe the nature of the business             Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26.     Books, records, and financial statements
      26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           □ None

        Name and address                                                                                                                       Date of service
                                                                                                                                               From-To
        26a. 1.     Friedman LLP                                                                                                               4/2007 to 10/2020
                    2000 Market Street
                    Suite 500
                    Philadelphia, PA 19103

        26a.2.      Grassi & Company                                                                                                           7/2020 to Current
                    50 Jericho Quandrangle
                    Suite 200
                    Jericho, NY 11753

      26b. List ail firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
           within 2 years before filing this case.

            Q None

        Name and address                                                                                                                       Date of service
                                                                                                                                               From-To
        26b.1.      Grassi & Company                                                                                                           7/2020 to Current
                    50 Jericho Quadrangle
                    Suite 200
                    Jericho, NY 11753

      26c. List ail firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
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           □ None

        Name and address                                                                                     If any books of account and records are
                                                                                                             unavailable, explain why
        26c.l.      Grassi & Company
                    50 Jericho Quadrangle
                    Suite 200
                    Jericho, NY 11753

        26c.2.      Scungio Borst & Associates
                    117 Moore Drive
                    Media, PA 19063

      26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.

           □ None

        Name and address
        26d.1.      Federal Resources Federal Credit Union
                    520 U.S. Highway 22 East
                    Bridgewater, NJ 08807

        26d.2.      TD Bank
                    201 W. High Street, 1st Floor
                    Glassboro, NJ 08028

        26d.3.      mD Capital
                    2929 Walnut Street, Suite 4013
                    Philadelphia, PA 19104

27.    Inventories
      Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       H    No
       □    Yes. Give the details about the two most recent inventories.

                 Name of the person who supervised the taking of the                         Date of inventory       The dollar amount and basis (cost, market,
                 inventory                                                                                           or other basis) of each inventory

28.     List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
      in control of the debtor at the time of the filing of this case.

        Name                                          Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
        Scott P. Scungio                              117 Moore Drive                                     President
                                                      Media, PA 19063

        Name                                          Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
        Philip L. Borst                               641 Pugh Road                                       Member                                 50
                                                      Wayne, PA 19087

        Name                                          Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
        Scungio & Company, LLC                        117 Moore Drive                                     Member                                 50%
                                                      Media, PA 19063



29.    Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
      control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



Official Form 207                                   Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                  page 8

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       0    No
       Q    Yes. Identify below.


30.     Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
      loans, credits on loans, stock redemptions, and options exercised?

       □    No
       0    Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
        30.1 Scungio & Company
             117 Moore Drive                                                                                             4/1/21, 6/9/21,    Guaranteed
             Media, PA 19063___________                          $73,402.52___________________________                   8/9/21,1/27/22     Member Payment

               Relationship to debtor
               Member___________________


        30.2 Philip L. Borst                                                                                             6/9/21,
             641 Pugh Road                                                                                               7/27/21,           Gauranteed
             Wayne, PA 19087___________                          $35,000.00___________________________                   1/27/22            Member Payment

               Relationship to debtor
               Member___________________


31.     Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       0    No
       □    Yes. Identify below.

      Name of the parent corporation                                                                          Employer Identification number of the parent
                                                                                                              corporation

32.    Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       H    No
       O    Yes. Identify below.

      Name of the pension fund                                                                                Employer Identification number of the parent
                                                                                                              corporation




Official Form 207                                   Statement of Financial Affairs for Non-lndividuais Filing for Bankruptcy                                  page 9

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                                   ‘SOFA 3”
7:54 AM
03/26/22                                            Case 22-10609-amc                                                  Doc 50               Filed Scungio
                                                                                                                                                  04/08/22            Entered 04/08/22 16:46:10
                                                                                                                                                          Borst & Associates                                                                                     Desc Main
                                                                                                                                                  Transaction List by Date
                                                                                                                                           Document           Page 61 of 70
                                                                                                                                                   December 11,2021 through March 11,2022




                             Type           Date         Num                        Name                                      Memo                            Account            CIr                      Split          Debit    Credit      Validated Amount             Reason                 Description
Dec 11.'21-Mar 11. 22
                        Bill Pml -Check   01/17/2022 13061     1st Blackhawk LLC                                                               1003-TO Bank N.A.-Cheeking         V 2000.0 - Construction Expense                33.987.42           33.987.42 Suppliers orVendors
                        Bill Pml -Check   01/27/2022 13095 1st Blaekhasvk LLC                                                                  1003 - TD Bank N.A,-Checking            2000.0 - Construction Expense             106.493.79         106,493.79 Suppliers or Vendors
                        Bill Pmt -Check   03/01/2022 13123 2M Electric LLC                                 2001009-2001(X>9-001-               1003 • TD Bank N.A, - Checking     «    2000.0 ■ Construction Expense             130.207.80         130,207.80 Suppliers or Vendors
                        Check             02/22/2022 13111     39 Degrees North Architects                                                     1003'TD Bank N.A. - Checking            5100 • JobCosts                             5.000.00               0.00                              Less Than $6,825
                        Bill Pml -Chock   02/18/2022 13109 A. Brooks Roofing                                                                   1003 ■ TO Bank N.A. - Checking     •    2000.0 • Construction Expense              14.320.00          14,320.00 Suppliers or Vendors
                        Bil! Pml -Check   01/19/2022 13065 Acme Orapemastcr of America                     2102001-2102001-001-                1003'TO Bank N.A. - Checking       V 2000.0 • Construction Expense                  1.791.00               0.00                              Less Than $6,825
                        Bill Pml -Check   01/19/2022 13066 Affordable Fire Proleclion, Inc                 2001009-2001009-001 -               1003 -TO Bank N.A. - Checking           2000.0 - Construction Expense              24.111.00          24,111.00 Suppliers or Vendors
                        Bill Pml -Check   01/27/2022 13077 Affordable Fire Proledion. Inc                                                      1003 • TD Bank N.A. - Checking     s' 2000.0 - Construction Expense                12.795.47          12,795.47 Suppliers or Vendors
                        Check             12/23/2021           American Express                                                                1003 TD Bank N.A. - Checking       s' 1105 - Phil Amex Business-62001               7.000.00           7,(X>0.00 Unsecured loan repayments
                        Chock             12/30/2021           American Express                                                                1003 ■ TD Bank N.A. - Cheeking     s'   1103 - AMEX (Bus. Mgmt)-4001                 500.00              500.00 Unsecured loan repayments
                        Cheek             01/13/2022           American Express                                                                1003 ' TO Bank N.A. - Checking     s'   1103 - AMEX (Bus. Mgmt)- 4001                 77.00               77.00 Unsecured loan repayments
                        Chock             01/13/2022           American Express                                                                1003 • TD Bank N.A. - Checking     V 1102 'AMEX Platinum-9001                      16.864.00          16,864.00 Unsecured loan repayments
                        Chock             01/25/2022           American Express                                                                1003 - TD Bank N.A. - Checking     s' 1102 • AMEX Platinum - 9001                 184,822.57         184.822.57 Unsecured loan repayments
                        Check             01/25/2022           American Express                                                                1003 - TO Bank N.A. - Checking     s' 1103 - AMEX (Bus. Mgmt)- 4001                 4,920.64           4,920.64 Unsecured loan repayments
                        Check             01/26/2022           American Express                                                                1003 • TD Bank N.A. - Checking     s' 1105 • Phil Amex Business-62001              77,808.27          77.808.27 Unsecured loan repayments
                        Bill Pmt -Check   01/10/2022           Ameriheallh                                 187451                              1003 • TO Bank N.A. - Checking     s' 2000 ' Accounts Payable                      33,551.79               0.00                              Employee Compensation
                        Bill Pmt -Check   01/25/2022           Amerihoallh                                 187451                              1003 • TD Bank N.A. - Checking     s' 2000 ■ Accounts Payable                      32,975.93               0.00                              Employee Compensation
                        Bill Pmt -Chock   01/28/2022           Ameriheallh                                 187451                              1003 • TO Bank N.A. - Checking     s' 2000 ■ Accounts Payable                      64,867.34               0.00                              Employee Compensation
                        Check             02/25/2022 13115 AmTrust North America                                                               1003 • TD Bank N.A. - Chocking     •    6420 ' Work Comp                             645.00                0.00                              Less Than $6,825
                        Bill Pmt -Check   01/13/2022 13054 Ani & Joe Abalcmenl DemolHion LLC               2102003-2102003-001-(SBA) CPR       1003 • TO Bank N.A. - Chocking     s' 2000.0 - Construction Expense                 1.350.00               0.00                              Less Than $6,825
                        Check             01/11/2022           Beneflex                                                                        1003 • TO Bank N.A. - Checking     s' Employee Health Insurance                      206.85                0.00                              Employee Compensation
                        Check             02/04/2022           Beneflex                                                                        1003 • TO Bank N.A. - Cheeking     s' Employee Health Insurance                       187.95               0.00                              Employee Compensation
                        Chock             03/09/2022           Beneflex                                                                        1003-TO Bank N.A. - Checking       •    Employee Health Insurance                    206.85                0.00                              Employee Compensation
                        Bill Pml -Check   01/27/2022 13078 Bursese Electric Inc                                                                lOOS-TOBank N.A.-Cheeking          s' 2000.0 - Construction Expense                 3.611.25               0.00                              Less Than $6,825
                        Check             12/22/2021           City of Philadelphia Dept, of Finance                                           1003 - TDBank N.A.-Cheeking        s' CityTax                                       8.624.00           8.624.00 Services
                        Bill Pml -Cheek   12/17/2021 13026 Corporate Interiors                                                                 1003-TD Bank N.A.-Cheeking         s' 2000.0 - Construction Expense                54.079.41          54.079.41 Suppliers or Vendors
                        Check             01/28/2022 13122 Darlene Schock                                  Severance                           1003 ■ TD Bank N.A. - Cheeking     ♦    6565 - Employee Payroll                     4.038.45               0.00                              Employee Compensation
                        Bil! Pml -Check   01/24/2022           De Lage Landen Financial Group                                                  1003'TD Bank N.A.-Cheeking         s' 2000 • Accounts Payable                        892.87                0.00                              Less Than $6,825
                        Bill Pmt -Chock   01/18/2022 13064 DZO Mechanical Inc                              2001011-2001011-001-                1003-TD Bank N.A.-Cheeking         s' 2000.0 ' Construction Expense                89.100.00          89,100.00 Suppliers or Vendors
                        Bill Pml -Chock   01/19/2022 13067 Economy Decorations                                                                 1003 • TD Bank N.A. - Checking     s' 2000.0 - Construction Expense                 9.192.00           9,192.00 Suppliers or Vendors
                        Chock             12/16/2021 13025 Financial Resource Federal Credit Union                                             1003 • TD Bank N.A. - Checking     s' S8A7ALoan                                    50,199.72          50,199.72 Secured Debt
                        Check             01/14/2022 13058 Financial Resource Federal Credit Union                                             1003 • TD Bank N.A. - Checking     s' SBATALoan                                    50,199.72          50,199.72 Secured Debt
                        Check             01/25/2022           Financial Resource Federal Credit Union                                         1021 -Free Business Checking       s' 6120-Bank Service Charges                        21.01              21.01 Secured Debt
                        Chock             02/28/2022 13119 Financial Resource Federal Credit Union                                             1003 • TO Bank N.A. - Cheeking     •    -SPLIT-                                    50.199.72          50.199.72 Secured Debt
                        Bill Pmt -Check   12/14/2021 13021     Ford Brothers Electric                      1901002-1901002-001—                1003 • TO Bank N.A. - Checking     '! 2000.0 • Construction Expense                30.010.53          30.010.53 Suppliers or Vendors
                        Bill Pmt -Cheek   01/27/2022 13079 Freedom Glass & Metal. Inc                      1801007-1801007-001—                1003 • TD Bank N.A. - Cheeking     s' 2000.0 - Construction Expense                 8.431.65           8.431.55 Suppliers or Vendors
                        Bill Pmt -Check   01/19/2022 13068 Fromkin Brothers Inc                            2101014-2101014-001—                1003 • TD Bank N.A. - Checking     s' 2{X)0.0 - Construction Expense               29.907.90          29,907.90 Suppliers orVendors
                        Bill Pmt -Check   01/14/2022 13056 Fyr-Fytcr Sales 8 Services                      2102001-2102001-001-                1003 ■ TO Bank N.A.-Cheeking            2000.0 - Construction Expense               6.627.60               0.00                              Less Than $6,825
                        Bill Pml -Chock   03/09/2022           Grassi & Company Certified Public Account                                       1003-TO Bank N.A.-Cheeking         •    2000 - Accounts Payable                    45.178.31          45,178.31 Services
                        Bill Pml -Chock   02/28/2022 13121     Harford Mutual                              Account # 295697                    1003-TOBank N.A.-Cheeking          •    2000 - Accounts Payable                       309.00               0.00                              Less Than $6,825
                        Bill Pmt -Check   12/15/2021 13022 Harris Ayoub                                                                        1003-TD Bank N.A.-Cheeking         s' 2000 - Accounts Payable                       1,050.00               0.00                              Less Than $6,825
                        Bill Pml -Check   01/24/2022 13073 Hentage Business System aka Stewart                                                 1003 ■ TD BankN.A.-Cheeking        s' 2000 - Accounts Payable                         919.39               0.00                              Less Than $6,825
                        Bil! Pmt -Chock   12/14/2021 13020 Herman's Trailers                                                                   1003-TD Bank N.A.-Cheeking         s' 2000.0 ■ Construction Expense                   500.00               0.00                              Less Than $6,825
                        Bill Pml -Check   02/01/2022 13097 HKA Global. Inc                                                                     1003 ■ TD Bank N.A. - Checking     s' 2000 - Accounts Payable                       7.854.00           7,854.00 Services
                        Chock             02/14/2022           HSAWCPCUSTODIAN                                                                 1003'TD Bank N.A.-Cheeking         s' 6140-Contributions                                0.01               0.00                              Less Than $6,825
                        Check             01/24/2022           Iron Mountain                                                                   1003 - TD Bank N.A. - Checking     s' 6291-Storage Rentals                            944.27               0.00                              Less Than $6,825
                        Check             01/31/2022           Iron Mountain                                                                    1003 - TO Bank N.A. - Checking    s' 6291-Storage Rentals                          1.155.03                0.00                             Less Than $6,825
                        Bill Pmt -Check   12/17/2021 13027 JDM Plumbing                                    2003001-2003001-001 —                1003 - TO Bank N.A. - Checking    s' 2000.0 - Construction Expense                 6,978.75           6.978.75 Suppliers or Vendors
                        Bill Pmt -Check   01/27/2022 13100 KS D Ungarini Iron Work                                                              1003 • TO Bank N.A. - Checking    s' 2000.0 - Construction Expense                 9.900.00           9.900.00 Suppliers or Vendors
                        Check             02/28/2022           Karalis PC                                                                       1003-TD Bank N.A.-Cheeking        s' 6270 • Professional Fees                     37.000.00          37.000.00 Services                     Part 6 Item 11
                        Bill Pml -Check   02/28/2022 13117 Kevin J Bailey & Son                            VOID: 2102001-2102001-001—           1003-TD Bank N.A.-Cheeking        s' 2(X>0.0 - Construction Expense
                        Bill Pmt -Check   01/13/2022                                                                                            1003 - TO Bank N.A. - Checking    s' 2000 • Accounts Payable                       3.346.77                0.00                             Less Than $6,825
                        Bill Pml -Chock   01/27/2022 13080 Louis N Rothberg 8 Son. Inc                     2102004-2102004-001-                 1003-TD Bank N.A.-Cheeking        s' 2000.0' Construction Expense                 32.906.25          32.906.25 Suppliers or Vendors

                        Bill Pml -Chock   03/03/2022 13124 M8D Doors                                       2102001-2102001-001-                 1003 • TD Bank N.A. - Checking    •    2000.0 - Construction Expense              38.135.40          38.135.40 Suppliers or Vendors
                        Cheek             03/03/2022           Md Capital LLC                                                                   1003 • TD Bank N.A. - Checking    «    6270 - Professional Fees                    7,950.00            7.950.00 Services

                        Bill Pmt -Check   02/28/2022 13118 Mid Atlantic Inc                                                                     1003 - TD Bank N.A. - Checking    •    2000.0 - Construction Expense               8,620.00            8.620.00 Suppliers or Vendors

                        Bill Pmt -Check   12/17/2021 13028 Mineo Contractors. LLC                          2102004-2102004-001 —                1003 - TO Bank N.A. - Checking    s' 2000.0 ■ Construction Expense                 2.970.00            2.970.00 Suppliers or Vendors

                        Bill Pmt -Check   01/19/2022 13069 Mineo Contractors. LLC                          2102005-2102015-001 —                1003 - TO Bank N.A. - Checking    s' 2000.0 ■ Construction Expense                 2.250.00            2.250.00 Suppliers or Vendors

                        Bill Pmt -Check   01/27/2022 13081     Mineo Contractors. LLC                      2102004-2102004-001-                 1003 - TO Bank N.A. - Cheeking    s' 2000.0 - Construction Expense                 5.562.00            5.562.00 Suppliers or Vendors

                        Bill Pmt -Chock   01/13/2022 13038 Morris Black 8 Sons. Inc                        2102001-2102001-001-                 1003-TO Bank N.A.-Cheeking        s' 2000.0 - Construction Expense                 6.264.23                0.00                             Less Than $6,825
                        Check             14/ IM/4U4 1         Nationwide Retirement Plan                                                       1004 - Commerce NA-Payroll        s' 6281 ■ Employee 401k                          2.069.23

                                           I4/4O/4U4 1         Nationwide Retirement Plan                                                       1004 - Commerce NA - Payroll      s' 6281 - Employee 401k                          2,069.23                0.00                             Employee Compensation
                        Check             01/19/2022 23554                                                                                      1004 ■ Commerce NA - Payroll      s' 6281 - Employee 401k                          2,069.23                0.00                             Employee Compensation
                                          rsiir4U/4U44
                                          U    rtnnr^oo                                                                                         1004 - Commerce NA • Payroll      s' 6281 ■ Employee 401k                          2,069.23                0.00                             Employee Compensation
                        Check             01/25/2022 23581     Nalionvndc Retirement Plan                                                       1004 - Commerce NA - Payroll       s' 6281'Employee401k                            2,069.23                0.00                             Employee Compensation
                        Check             02/08/2022 23607 Nationwide Retirement Plan                                                           1004 - Commerce NA - Payroll       s' 6281-Employee401k                            2,069.23                0.00                             Employee Compensation
                        Bill Pmt -Chock   01/27/2022 13082 Network Flooring 8 Maintenance                  2102001-2102001-001-                 1003 - TO Bank N.A. - Checking     s' 2000.0 - Construction Expense               32.379.72           32.379.72 Suppliers or Vendors
                        Check             12/28/2021           New York Life                                                                    1003 - TO Bank N.A. - Checking     s' 6184 ■ Business Owners Insurance               452.99             452.99 Services
                        Cheek             12/28/2021           Nev/York Life                                                                    1003 - TO Bank N.A.-Cheeking       s' 6184 • Business Owners Insurance               615.53             615.53 Services
                        Chock             12/28/2021           New York Life                                                                    1003-TD Bank N.A.-Cheeking         s' 6184 - Business Owners Insurance               250.00             250.00 Services




                                                                                                                                                                                                                                                                                                                    Pagel of3
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03f26/22                              Case 22-10609-amc                                             Doc 50              Filed Scungio
                                                                                                                              04/08/22            Entered 04/08/22 16:46:10
                                                                                                                                      Borst & Associates                                                                                      Desc Main
                                                                                                                              Transaction List by Date
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                                                                                                                               December 11,2021 through March 11,2022




                Type           Date       Num                        Name                                       Memo                       Account           CIr                           Split         Debit    Credit      Validated Amount             Reason            Description
           Check             12126/2021         New York Life                                                               1003-TO Bank N.A.-Checking        s' 6184 • Business Owners Insurance                   340.95              340.95 Services
           Check             01/03/2022         New York Life                                                               1003 - TO Bank N.A. - Checking    s' •SPLIT-                                            717.50              717.50 Services
           Check             01/28/2022         New York Life                                                               1003 • TO Bank N.A. - Chocking    s' 6184 ■ Business Owners Insurance                  1.659.47           1,659.47 Services
           Cheek             02/01/2022         New York Life                                                               1003 - TO Bank N.A. • Cheeking    s' 6184 • Business Owners Insurance                   457.50              457.50 Services
           Cheek             02/01/2022         Nevr York Life                                                              1003 - TO Bank N.A. • Checking    s' 6184 ■ Business Ov/ners Insurance                  260.00              260.00 Services
           Cheek             02/28/2022         New York Life                                                               1003 - TO Bank N.A. • Checking    s'    6184 • Business Owners Insurance                615.53              615.53 Services
           Check             02/28/2022         New York Life                                                               1003 ■ TO Bank N.A. - Cheeking    s' 6184 ■ Business Owners Insurance                   452.99              452.99 Services
           Cheek             02/28/2022         Nev; York Life                                                              1003 • TO Bank N.A. • Cheeking    s'    6184 ■ Business Ovmers Insurance                340.95              340.95 Services
           Cheek             02/28/2022         New York Life                                                               1003 ■ TO Bank N.A. -Chocking     s'    6184 • Business Owners Insurance                250.00              250.00 Services
           Check             03/01/2022         New York Life                                                               1003'TO Bank N.A.-Chocking              6184 - Business Owners Insurance                260.00              260.00 Services
           Check             03/01/2022         Nev/York Life                                                               1003 • TO Bank N.A. -Cheeking           6184 • Business Ovmers Insurance                457.50              457.50 Services
           Bill Pml -Check   01/25/2022 13074 Office Basics                              06270800                           1003 • TO Bank N.A. - Checking          2000 • Accounts Payable                        1,822.06               0.00                         Less Than $6,825
           Bill Pmt -Check   02/18/2022 13110 Overhead Door Co. of Chester & DE County   1901013-1901013-001-               1003 TO Bank N.A. - Checking      s'    2000.0 • Construction Expense                  3.498.70               0.00                         Less Than $6,825
           Check             12/22/2021 13052   Parker McCay P. A.                                                          1003 • TO Bank N.A. - Checking    s'    -SPLIT-                                       12.970.20               0.00                         Employee Compensation
           Check             12/17/2021         Paychex                                                                     1004 • Commerce NA • Payroll      s'    6564 - Payroll                               70.155.88                0.00                         Employee Compensation
           Check             12/17/2021         Paychex                                                                     1004 - Commerce NA - Payroll      s'    6287 • H/R 8 Payroll Services                  1,157.53               0.00                         Employee Compensation
           Check             12/17/2021         Paychex                                                                     1004 • Commerce NA - Payroll      s' 6564 • Payroll                                      120.49               0.00                         Employee Compensation
           Check             12/31/2021         Paychex                                                                     1004 • Commerce NA - Payroll      s' 6564 - Payroll                                  76,537.83                0.00                         Employee Compensation
           Check             01/03/2022         Paychex                                                                     1004 • Commerce NA - Payroll      s' 6287 • H/R 8 Payroll Services                     1,182.53               0.00                         Employee Compensation
           Check             01/03/2022         Paychex                                                                     1004 • Commerce NA - Payroll      s' 6564 • Payroll                                      120.49               0.00                         Employee Compensation
           Check             01/14/2022         Paychex                                                                     1004 • Commerce NA - Payroll      s' 6564 • Payroll                                   71,141.21               0.00                         Employee Compensation
           Check             01/14/2022         Paychex                                                                     1004 ■ Commerce NA • Payroll      v 6287 • H/R 8 Payroll Services                      1.174.78               0.00                         Employee Compensation
           Check             01/14/2022         Paychex                                                                     1004 • Commerce NA-Payroll        s' 6564 • Payroll                                      120.49               0.00                         Employee Compensation
           Check             01/28/2022         Paychex                                                                     1004 ■ Commerce NA-Payroll        s' 6564 • Payroll                                   77.653.04               0.00                         Employee Compensation
           Cheek             01/28/2022         Paychex                                                                     1004 ■ Commerce NA - Payroll      s'    6287 ■ H/R 8 Payroll Services                  1.236.28               0.00                         Employee Compensation
           Check             01/28/2022         Paychex                                                                     1004 ■ Commerce NA-Payroll        s'    6564 • Payroll                                    76.34               0.00                         Employee Compensation
           Check             02/11/2022         Paychex                                                                     1004 ' Commerce NA - Payroll      s'    6564 ■ Payroll                                71,353.46               0.00                         Employee Compensation
           Check             02/11/2022         Paychex                                                                     1004 ■ Commerce NA - Payroll      s'    6564 • Payroll                                 1,162.28               0.00                         Employee Compensation
           Cheek             02/11/2022         Paychex                                                                     1004 ' Commerce NA - Payroll      s'    6564 - Payroll                                    76.34               0.00                         Employee Compensation
           Check             02/25/2022         Paychex                                                                     1004 ■ Commerce NA - Payroll      s'    6564 • Payroll                                74,553.49               0.00                         Employee Compensation
           Chock             02/25/2022         Paychex                                                                     1004 - Commerce NA - Payroll      s' 6564 - Payroll                                    1,137.28               0.00                         Employee Compensation
           Check             03/10/2022         Paychex                                                                     1004 • Commerce NA - Payroll            6564 ' Payroll                               107.078.61               0.00                         Employee Compensation
           Check             03/10/2022         Paychex                                                                     1004 • Commerce NA - Payroll            6564 • Payroll                                 2.507.69               0.00                         Employee Compensation
           Check             03/11/2022         Paychex                                                                     1004 ■ Commerce NA • Payroll            6564 • Payroll                                 6,585.32               0.00                         Employee Compensation
           Check             03/11/2022         Paychex                                                                     1004 • Commerce NA - Payroll            6564 • Payroll                                 1,096.78               0.00                         Employee Compensation
           Check             03/11/2022         Paychex                                                                     1004 • Commerce NA - Payroll            6564 • Payroll                                   364.73                0.00                        Employee Compensation
           Check             12/17/2021         Paychex TPS Taxes                                                           1004 • Commerce NA- Payroll       s' 6821 • Payroll taxes                             27.518.40                0.00                        Employee Compensation
           Cheek             12/31/2021         Paychex TPS Taxes                                                           1004 ' Commerce NA- Payroll       s' 6821 ■ Payroll taxes                             27.485.03                0.00                        Employee Compensation
           Check             01/14/2022         Paychex TPS Taxes                                                           1004 - Commerce NA - Payroll      s'    6821 • Payroll taxes                          34,083.47                0.00                        Employee Compensation
           Cheek             01/28/2022         Paychex TPS Taxes                                                           1004 • Commerce NA - Payroll      s'    6821 - Payroll taxes                          33,699.13                0.00                        Employee Compensation
           Check             02/11/2022         Paychex TPS Taxes                                                           1004 • Commerce NA - Payroll      s'    6821 • Payroll taxes                          31,741.92                0.00                        Employee Compensation
           Check             02/25/2022         Paychex TPS Taxes                                                           1004 • Commerce NA - Payroll      V 6821 ■ Payroll taxes                              28,726.56                0.00                        Employee Compensation
           Check             03/10/2022         Paychex TPS Taxes                                                           1004 ■ Commerce NA - Payroll            6821 • Payroll taxes                          42.193.76                0.00                        Employee Compensation
           Check             03/11/2022         Paychex TPS Taxes                                                           1004 • Commerce NA - Payroll            6821 ’ Payroll taxes                           2.061.77                0.00                        Employee Compensation
           Bill Pmt -Check   01/27/2022 13084 Pennoni Assoc. Inc.                        2001011-2001011-001-Tcsting        1003 • TD Bank N.A. - Checking    s' 2000.0 - Construction Expense                     3.000.00                0.00                        Less Than $6,825
           Bill Pmt -Check   12/17/2021 13031   Philadelphia Carpentry Systems           2001007-2001007-001 —              1003 ■ TD Bank N.A. - Checking    s' 2000.0 • Construction Expense                    35,000.00          35,000.00 Suppliers or Vendors
           Bill Pmt -Check   03/03/2022 13125 Philadelphia Carpentry Systems             2101001-2101001-001-               1003 • TO Bank N.A. - Cheeking          2000.0 ■ Construction Expense                 20,000.00          20,000.00 Suppliers or Vendors

           Check             01/27/2022 13093 Philip Borst                                                                  1003 • TO Bank N.A. - Checldng    s' 6567 • Guaranteed Payments - Members              5,000.00                0.00                        Less Than $6,825
           Bill Pmt -Check   02/17/2022 13104   Precision Door & Hardware                                                   lOOS-TOBank N.A.-Checking         s'    2000.0 - Construction Expense                 10,076.20           10,076.20 Suppliers or Vendors

           Sill Pml -Chock   01/26/2022 13076 PSESG                                      61 256 073 72                      1003 • TD Bank N.A. - Checking    s'    2000.0 • Construction Expense                    261.42                0.00                        Less Than $6,825
           Check             01/05/2022 12993 ROL Construction                                                              1003 - TD Bank N.A. - Checking    s' 5100-Job Costs                                   53.695.80          53,695.80 Suppliers or Vendors

           Bill Pmt -Check   01/15/2022 13060 ROL Construction                                                              1003 • TO Bank N.A. - Checking    s' 2000.0 • Construction Expense                   201.381.00         201,381.00 Suppliers or Vendors

           Bill Pmt -Check   01/27/2022 13085 ROL Construction                           2102004-2102004-001 —              1003 • TO Bank N.A. - Checking    s' 2000.0 ■ Construction Expense                     5.670.00            5,670.00 Suppliers or Vendors

           Bill Pml -Check   02/04/2022 13102 RDL Consirucllon                           2102001-2102001-001 —              1003 ■ TO Bank N.A. - Checking    s' 2000.0 • Construction Expense                    25.000.00          25,000.00 Suppliers or Vendors

           Bill Pmt -Check   01/27/2022 13086 Reilly Glazing. Inc                                                           1003-TOBank N.A.-Checking          s' 2000.0 • Consirucllon Expense                   32,385.60          32,385.60 Suppliers or Vendors

           Cheek             01/24/2022 13072 Reliable Contracting LLC                                                      1003-T0 8ank N.A.-Checking         s' 6750 ■ Subcontractors                           10,000.00           10,000.00 Suppliers or Vendors

           Bill Pml -Check   01/19/2022 13039 Revolution Recovery LLC                                                       1003 - TD Bank N.A. • Checking     s'   2000.0 ■ Construction Expense                 10,652.10           10,652.10 SuppliersorVendors

           Bill Pml -Cheek   01/19/2022 13036 Roof Wizards                               2102001-2102001-001-               1003-TD Bank N.A.. Checking        s'   2000.0' Construction Expense                   5,400.00                0.00                        Less Than $6,825
           Bill Pmt -Check   12/17/2021 13029 RW Professional Cleaning LLC                                                  1003 • TD Bank N.A. - Cheeking     s'   2000.0 • Construction Expense                 11,992.49           11,992.49 Suppliers or Vendors

           Check             01/31/2022 13099 Sakina Chaudhry                            January 8 February                 1003 • TD Bank N.A. - Checking     s'   6290 - Rent                                    3,300.00                0.00                        Less Than $6,825
           Bill Pmt -Chock   01/18/2022 13062 Schaibles Mechanical LLC                                                      1003 • TO Bank N.A. - Checking     s' 2000.0 - Construction Expense                   40.342.50           40,342.50 Suppliers or Vendors

           Bill Pmt -Chock   01/27/2022 13087                                                                               1003 • TO Bank N.A. - Checking     s' 2000.0 • Construction Expense                   10.395.00           10,395.00 Suppliers or Vendors

           Bill Pmt -Check   01/18/2022 13063 Scott P. Scungio                                                              1003 • TO Bank N.A. - Cheelnng                                                         2 412.24                                            Less Than $6,825
           Cheek             01/27/2022 13094 Scungio 8 Company                                                             1003 • TO Bank N.A. - Checking     s' 6567 • Guaranteed Payments - Members            10,000.00                0.00                        Member Compensation?
           Chock             02/07/2022 13096 Stark & Stark                                                                 1003-TO Bank N.A.-Checking         s' 9019 - Sponsorships                             10,000.00           10,000.00 Services

           Bill Pmt -Chock   01/28/2022 13120 State Workers Insurance Fund               06327642                           1003 ■ TD Bank N.A.-Checking            2000 • Accounts Payable                          991.00                0.00                        Less Than $6,825
           Bill Pml -Chock   01/27/2022 13086 Sullivan Asko Roofing. Inc                                                    1003-TD Bank N.A. - Cheeking       s'   2000.0 - Construction Expense                  5,019.00                0.00                        Less Than $6,825
           Bill Pmt -Chock   01/14/2022 13059 Summit Architectural Metals 8 Glass                                           1003 • TD Bank N.A. - Cheeking     s'   2000.0 • Construction Expense                 35,743.13           35.743.13 Suppliers or Vendors

           Bill Pmt -Chock   01/27/2022 13089 Tandem Associates. Inc.                                                       1003 • TO Bank N.A. - Checking     s'   2000.0 ■ Construction Eigsense                10,000.00           10.000.00 Suppliers or Vendors

           Check             12/14/2021         TD Bank                                  Overdraft Protection               1003 • TO Bank N.A. - Cheeking     s' 6120 • Bank Servieo Charges                         35.00                0.00                        Less Than $6,825
           Check             12/15/2021         TD Bank                                  Slop Payment                       1003 - TO Bank N.A. - Checking     s' 6120 ' Bank Service Charges                         30.00                0.00                        Less Than $6,825




                                                                                                                                                                                                                                                                                               Page 2 of 3
7:54 AM
03/2SZ22                                        Case 22-10609-amc                                          Doc 50                Filed Transaction
                                                                                                                                        04/08/22            Entered 04/08/22 16:46:10
                                                                                                                                       Scungio Borst & Associates
                                                                                                                                                    List by Date
                                                                                                                                                                                                                                                                 Desc Main
                                                                                                                                Document           Page 63 of 70
                                                                                                                                             December 11, 2021 through March 11, 2022




                          Type           Date       Num                           Name                              Memo                                 Account             CIr                      Split           Debit     Credit       Validated Amount            Reason            Description
                     Chock             12/16/2021         TO Bank                                                                        1003 ■ TD Bank N .A. - Checking      s'   6120 • Bank Service Charges                      15.00                0.00                        Less Than $6,825
                     Check             12/23/2021         TO Bank                               Wire Transfer Fee                        1003 ■ TO Bank N.A. - Cheeking            6120 ■ Bank Service Charges                      15.00                0.00                        Less Than $6,825
                     Check             12/30/2021         TO Bank                                                                        1003 • TD Bank N.A. - Checking       s'   6120- Bank Service Charges                       25.00                0.00                        Less Than $6,825
                     Cheek             12/31/2021         TO Bank                                                                        1001 - Commerce Bank Checking PA     s'   6120-Bank Service Charges                        25.00                0.00                        Less Than $6,825
                     Check             12/31/2021         TO Bank                                                                        1004 • Commerce NA - Payroll              6120- Bank Service Charges                       28.00                0.00                        Less Than $6,825
                     Check             01/06/2022         TO Bank                                                                        1003 • TO Bank N.A. - Checking       s'   6120- Bank Service Charges                       70.00                0.00                        Less Than $6,825
                     Check             01/11/2022         TO Bank                                                                        1003 • TD Bank N.A. - Checking            6120 - Bank Service Charges                     105.00                0.00                        Less Than $6,825
                     Cheek             01/14/2022         TO Bank                                                                        1003 • TD Bank N.A. - Checking       s'   6120 - Bank Service Charges                      15.00                0.00                        Less Than $6,825
                     Check             01/18/2022         TO Bank                                                                        1003 • TD Bank N.A. - Checking       s' 6120- Bank Service Charges                         30.00                0.00                        Less Than $6,825
                     Check             01/19/2022         TO Bank                                                                        1003 - TD Bank N.A. - Checking       s' 6120 - Bank Sendee Charges                         15.00                0.00                        Less Than $6,825
                     Check             01/21/2022         TO Bank                                                                        1004 • Commerce NA - Payroll         s' 6120 • Bank Service Charges                        35.00                0.00                        Less Than $6,825
                     Check             01/27/2022         TO Bank                                                                        1003 ■ TD Bank N.A. - Checking       s' 6120 - Bank Service Charges                        15.00                0.00                        Less Than $6,825
                     Check             01/31/2022         TO Bank                                                                         1001 • Commerce Bank Checking PA    s'   6120 - Bank Service Charges                      25.00                0.00                        Less Than $6,825
                     Check             01/31/2022         TO Bank                                                                         1004 ■ Commerce NA - Payroll        s' 6120 - Bank Sendee Charges                         25.00                0.00                        Less Than $6,825
                     Check             01/31/2022         TO Bank                                                                         1003 • TO Bank N.A. - Checking      s' 6120 • Bank Sendee Charges                         25.00                0.00                        Less Than $6,825
                     Cheek             02/01/2022         TO Bank                                                                         1003 ■ TD Bank N.A. - Checking      s' 6120 - Bank Servlec Charges                        30.00                0.00                        Less Than $6,825
                     Check             02/14/2022         TO Bank                                                                         1003 • TO Bank N.A. - Cheeking      s' 6120 - Bank Sendee Charges                         35.00                0.00                        Less Than $6,825
                     Check             02/18/2022         TO Bank                                                                         1003 ■ TO Bank N.A. - Checking      s' 6120 - Bank Sendee Charges                         30.00                0.00                        Less Than $6,825
                     Check             02/24/2022         TO Bank                                                                         1003 • TO Bank N.A. - Cheeking      s' 6120 - Bank Sendee Charges                         35.00                0.00                        Less Than $6,825
                     Check             02/25/2022         TO Bank                                                                         1003 • TD Bank N.A. - Cheeking           6120 - Bank Service Charges                      60.00                0.00                        Less Than $6,825
                     Check             02/25/2022         TO Bank                                                                         1003 - TO Bank N.A, - Checking           6120 - Bank Service Charges                      15.00                0.00                        Less Than $6,825
                     Check             02/28/2022         TO Bank                                                                         1001 ■ Commerce BankChecldng PA          6120 - Bank Service Charges                      25.00                0.00                        Less Than $6,825
                     Check             02/28/2022         TO Bank                                                                         1004 - Commerce NA - Payroll        s' 6120 - Bank Service Charges                        25.00                0.00                        Less Than $6,825
                     Cheek             02/28/2022         TO Bank                                                                         1003-TO Bank N.A. - Cheeking        s' 6120 - Bank Serwee Charges                         15.00                0.00                        Less Than $6,825
                     Cheek             02/28/2022         TO Bank                                                                         1003 ■ TO Bank N.A. - Checking      s' 6120 - Bank Service Charges                        25.00                0.00                        Less Than $6,825
                     Cheek             03/03/2022         TO Bank                                                                         1003 TDBank N.A.-Cheeking                6120 - Bank Sendee Charges                       15.00                0.00                        Less Than $6,825
                     Cheek             03/03/2022         TO Bank                                                                         1003 • TD Bank N.A. - Cheeking           6120 - Bank Service Charges                      30.00                0.00                        Less Than $6,825
                     Bill Pml -Cheek   12/23/2021         Technology Insurance Company          Acc« 28906681 Policy# TARNJ1033939-O2     1003-TD Bank N.A. - Checking        s'   2000 - Acceunis Payable                       1,586.00                0.00                        Less Than $6,825
                     Check             01/31/2022 13098 Town of Middletown                      Delaware                                  1003 ' TD Bank N.A. - Checking      s' 6230 - Licenses and Permits                       125.00                0.00                        Less Than $6,825
                     Bill Pml -Check   12/21/2021 13041 Tri State Fabrication                   2102003-2102003-001-                      1003-TO Bank N.A. - Checking        s' 2000.0 - Construction Expense                  63.566.54           63,566.54 Suppliers or Vendors
                     Bill Pmt-Check    01/13/2022 13053 Tri State Fabrication                                                             1003-TO Bank N.A.-Checking          s' 2000.0 - Construction E:q>ense                 64.821.39           64,821.39 Suppliers or Vendors
                     Bill Pmt -Check   01/27/2022 13090 Tri State Fabrication                   2001011-2001011-001 —                     1003 • TD Bank N.A. - Checking      s' 2000.0 - Construction Expense                  12,908.62           12,908.62 Suppliers or Vendors
                     Bill Pmt -Check   02/07/2022 13101   Tri Stale Fabrication                 2001011-2001011-001- Tri Stale Vendor     1003 - TO Bank N.A. - Checking      s' 2000.0 ■ Construction Expense                 135,000.00          135,000.00 Suppliers or Vendors
                     Bill Pmt -Check   02/25/2022 13113 Tri Stale Fabrication                                                             1003 • TO Bank N.A. - Checking           2000.0 - Construction Expense                30,254.62           30.254.62 Suppliers or Vendors
                     Bill Pmt -Check   01/27/2022 13091   Trinity Subsurface LLC                2102004-2102004-001 —                     1003 ■ TO Bank N.A. - Cheeking      s' 2000.0 - Construction Expense                   3.150.00                0.00                        Less Than $6,825
                     Bill Pmt -Check   12/21/2021 13037 United Concordia                        VOID; 0058359090000000                    1003 • TO Bank N.A. - Checking      V 2000 • Accounts Payable                0.00
                     Bill Pmt -Check   12/21/2021         United Concordia                      005835909000D000                          1003 - TO Bank N.A. - Checking      s' 2000 - Accounts Payable                         5,419.80                0.00                        Employee Compensation
                     Bill Pmt -Check   02/16/2022         United Concordia                      005835909000D000                          1003 • TO Bank N.A.-Cheeking        s' 2000 - Accounts Payable                         6,976.27                0.00                        Employee Compensation
                     Bill Pmt -Check   01/25/2022 13075 United Site Services                                                            • 1003 • TO Bank N.A.-Checking        s' 2000.0 - Construction Expense                   7.574.19                0.00                        Employee Compensation
                     Check             01/14/2022         US Premium Finance                    205-170223-274982                         1003 • TDBank N.A.-Cheeking         s' 6188 - GL/Prop/WC/Umb Insurance                17.996.66           17,996.86 Services
                     Bill Pml -Check   03/10/2022         Verizon Wireless                                                                1003-TDBank N.A.-Cheeking                2000 - Accounts Payable                       5.992.17                0.00                        Less Than $6,825
                     Bill Pmt -Check   01/27/2022 13092 VIP Construction Services Inc.          1901013-1901013-001-                      1003 ■ TD Bank N.A. - Checking      s' 2000.0 ■ Construction Expense                   2.904.88                0.00                        Less Than $6,825
                     Bill Pml -Cheek   01/24/2022         W. B Mason                                                                      1003 ■ TO Bank N.A. - Checking           2000 - Accounts Payable                         298.12                0.00                        Less Than $6,825
                     Bill Pmt -Check   12/17/2021 13030 Willols Fire Protection                                                           1003 • TD Bank N.A. - Checking           ,(WI n . <~Anclnip«tnn Pynanca                                        0.00                        Less Than $6,825
                     Bill Pml -Check   01/19/2022 13070 William Waller Construction Group LLC   2101014-2101014-001-                      1003 ■ TD Bank N.A. - Checking           2000.0 • Construction Expense                 9,315.00            9,315.00 Suppliers or Vendors
                     Bill Pml -Check   02/17/2022 13107 William Walter Construction Group LLC   1901002-1901002-001-                      1003 ■ TO Bank N.A. - Cheeking           2000.0 - Construction Expense                10,000.00           10,000.00 Suppliers or Vendors
                     Transfer          12/14/2021                                               Funds Transfer                            1004 • Commerce NA - Payroll             1003 - TD Bank N.A. -Checking                 2,000.00                0.00                        Non-Creditor
                     Transfer          12/15/2021                                               Funds Transfer                            1003 ■ TD Bank N.A. - Checking      s'   1004 • Commerce NA - Payroll                    250.00                0.00                        Non-Creditor
                     Transfer          12/15/2021                                               Funds Transfer                            1001 • Commerce Bank Checking PA    V    1004 • Commerce NA - Payroll                    350.00                 0.00                       Non-Creditor
                     Transfer          12/16/2021                                               Funds Transfer                            1003 • TO Bank N.A. - Checking      s'   1004 - Commerce NA - Payroll                102,000.00                 0.00                       Non-Creditor
                     Transfer          01/03/2022                                               Funds Transfer                            1003-TO Bank N.A.-Cheeking          s'   1004 - Commerce NA - Payroll                115,000.00                 0.00                       Non-Creditor
                     Transfer          01/12/2022                                               Funds Transfer                            1003 ■ TO Bank N.A.-Cheeking        s'   1004 - Commerce NA - Payroll                 95,000.00                 0.00                       Non-Creditor
                     Transfer          01/13/2022                                               Funds Transfer                            1003-TO Bank N.A.-Cheeking          s'   1004 ■ Commerce NA - Payroll                  4,000.00                 0.00                       Non-Creditor
                     Transfer          01/19/2022                                               Funds Transfer                            1003 - TD Bank N.A. - Checking      s'   1001 • Commerce Bank Checking PA               1,000.00                0.00                       Non-Creditor
                     Transfer          01/21/2022                                               Funds Transfer                            1003 TD Bank N.A.-Cheeking          s'   1004 ■ Commerce NA • Payroll                  2,000.00                 0.00                       Non-Creditor
                     Transfer          01/25/2022                                               Funds Transfer                            1003 ' TO Bank N.A. - Checking      s'   1004 - Commerce NA-Payroll                  115,000.00                 0.00                       Non-Creditor
                     Transfer          01/28/2022                                               Funds Transfer                            1003 ■ TO Bank N.A. - Checking      s'   1004 - Commerce NA - Payroll                  2,000.00                 0.00                       Non-Creditor
                     Transfer          02/11/2022                                               Funds Transfer                            1003 • TO Bank N.A. - Checking      s'   1004 • Commerce NA - Payroll                105,000.00                 0.00                       Non-Creditor
                     Transfer          02/25/2022                                               Funds Transfer                            1004 • Commerce NA - Payroll        s'   1003 - TD Bank N.A. - Checking               12,000.00                 0.00                       Non-Creditor
                     Transfer          03/09/2022                                               Funds Transfer                            1003-TOBank N.A.-Cheeking                1004 - Commerce NA - Payroll                150,000.00                 0.00                       Non-Creditor
                     Transfer          03/10/2022                                               Funds Transfer                            1003 • TO Bank N.A. - Cheeking           1004 • Commerce NA - Payroll                   7,000.00                0.00                       Non-Creditor
Oec11.'21.Mar11.22                                                                                                                                                                                                            3,888,152.63        2,104,885.71




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                              Type           Date        Num           Name               Memo                     Account               CIr                        split             Amount                 Reason

Mar 11, '21 -Mar 11, 22
                          Check            04/01/2021          Scungio & Company Draw for Taxes via SBI Cash A/P Contra                        3202 ■ ScungioCo - Draw                 -23,402.62 Member Compensation

                          Check            06/09/2021 12770    Philip Borst                             1003 ■ TD Bank N.A. - Checking   y/    3402 ■ Phil - Draw                      -15,000.00   Member Compensation
                          Check            06/09/2021 12771    Scungio & Company                        1003-TD Bank N.A. - Checking           3202 • ScungioCo - Draw                 -25,000.00   Member Compensation
                          Check            07/27/2021 12819    Philip Borst                             1003 ■ TD Bank N.A. - Checking         3402 • Phil - Draw                      -15,000,00   Member Compensation
                          Check            08/09/2021 12854    Scungio & Company                        1003 ■ TD Bank N.A. - Checking   •J    6567 ■ Guaranteed Payments - Members    -15,000.00   Member Compensation
                          Bill Pmt -Chee   01/18/2022 13063    Scott P. Scungio                         1003 ■ TD Bank N.A. - Checking         2000 • Accounts Payable                  -2,412.24   Reimbursement
                          Check            01/27/2022 13093    Philip Borst                             1003 ■ TD Bank N.A. - Checking   •J    6567 ■ Guaranteed Payments - Members     -5,000.00   Member Compensation
                          Check            01/27/2022 13094    Scungio & Company                        1003 ■ TD Bank N.A. - Checking         6567 • Guaranteed Payments - Members    -10,000.00   Member Compensation
Mar 11,'21 - Maru, 22                                                                                                                                                                 -110,814.76
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                                  “SOFA 9”
                                             Case 22-10609-amc                                  Doc 50               Filed 04/08/22 Entered 04/08/22 16:46:10                                          Desc Main
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                                Type          Date            Num                      Name                                       Memo     Account          Clr                  Split              Amount      Validated             Reason       Comment
Mar 11.'20-Mar 11. 22
                        Sill                  07/21/2020 Oh         Delaware River Waterfront                                            6140 - Contributions     2000 • Accounts Payable            5,000.00     5,000.00 Donation
                        Check                 07/23/2020 12265      Coopers Ferry Partnership                                            6140 • Contributions     1003 TD Bank N.A. - Checking       3,000.00     3,000.00 Donation
                        Bill                  07/23/2020 OH         Coopers Ferry Partnership                                            6140 • Contributions     2000 • Accounts Payable            3,000.00     3,000.00 Donation
                        Credit Card Charge    09/24/2020 OH         The Cooper Foundation                                                6140 • Contributions     1102 • AMEX Platinum - 9001        1,000.00     1,000.00 Donation
                        Credit Card Charge    04/16/2021            Zoroastrian Association                                              6140 • Contributions     1102 • AMEX Platinum - 9001        1,000.00     1,000.00 Donation
                        Credit Card Charge    06/03/2021            The Cooper Foundation                                                6140 • Contributions     1102-AMEX Platinum - 9001          1,200.00     1,200.00 Donation
                        Credit Card Charge    06/07/2021            The Cooper Foundation                                                6140 • Contributions     1102-AMEX Platinum - 9001          1,025.00     1,025.00 Donation
                        Check                 08/12/2021 12859      Seravalli Foundation Charity Golf Outing                             6140 • Contributions     1003 • TD Bank N.A. - Checking     1,750.00     1,750.00 Donation
                        Credit Card Charge    08/23/2021            Victory Tailgate                                                     9028 • Charity Events    1105 ■ Phil Amex Business-62001     277.21          0.00                     Less than $1000
                        Credit Card Charge    08/31/2021            US Hole in One                                                       9028 - Charily Events    1105 • Phil Amex Business-62001     271.00          0.00                     Less than $1000
                        Credit Card Credit    09/09/2021            US Hole in One                                                       9028 ■ Charity Events    1105 ' Phil Amex Business-62001     -231.00         0.00                     Less than $1000
                        Credit Card Charge    09/13/2021            Financial Resource Federal Credit Union                              9028 • Charity Events    1105 • Phil Amex Business-62001     150.00          0.00                     Less than $1000
                        Credit Card Charge    09/15/2021            Scungio Borst Foundation                                             9028 ■ Charity Events    1102 ■ AMEX Platinum - 9001         519.82          0.00                     Less than $1000
                        Credit Card Charge    09/15/2021            Amazon Book Store                          2021 Golf Outing          9028 - Charity Events    1102 ■ AMEX Platinum - 9001         406.13          0.00                     Less than $1000
                        Credit Card Charge    09/28/2021            Purdy Good Ice                                                       9028 ■ Charity Events    1102'AMEX Platinum - 9001           575.00          0.00                     Less than $1000
                        Credit Card Charge    10/12/2021            Victory Tailgate                                                     6140 - Contributions     1102 • AMEX Platinum - 9001         277.21          0.00                     Less than $1000
                        Credit Card Charge    12/14/2021            National Police Defens                                               6140 - Contributions     1105 ■ Phil Amex Business-62001    1,500.00     1,500.00
                        Check                 02/14/2022            HSAWCPCUSTODIAN                                                      6140 ■ Contributions     1003-TD Bank N.A. - Checking           0.01         0.00                     Less than $1000
Mar 11,'20-Mar 11, 22                                                                                                                                                                               20,720.38    18,475.00
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                                                                                                            Case number (ifknown) 22-10609(AMC)




   Part-14:      Signature and Declaration


        connection with a bankaiptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.


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                                                                            Scott P. Scungio
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                                   ■            ^LC, Member

       additional pages to Sfafemenf offtnanc/af Afferrs for Wofj-/ndM£fua/sF//ing forBanfrwpfcySOfficial Form 207) attached?
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                             :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                    :   BANKRUPTCY NO. 22-10609(AMC)

                       Debtor                  :


                                 RULE 2016(b) STATEMENT
                              OF ATTORNEY COMPENSATION

         1.    Pursuant to 11 U.S.C. §329 and Rule of Bankruptcy Procedure 2016(b), I certify

that I am the attorney for the above-named Debtor and that compensation paid to me within one

year before the filing of the petitions in bankruptcy, or agreed to be paid to me, for services

rendered or to be rendered on behalf of the Debtor in the contemplation of or in connection with

the bankruptcy case is as follows:

               a.      For legal services, my firm has agreed to be compensated for the services

to be provided to the Debtor at its ordinary hourly billing rates and in accordance with its

customary billing practices with respect to its out-of-pocket expenses.

               b.      Prior to the filing of the petition in bankruptcy my firm received payments

of retainers totaling $100,000 in three payments as follows: (i) $37,000 from the Debtor, (ii)

$15,168 from Scungio Borst International, an affiliate of the Debtor, and (iii) $47,832.00 from

Scott Scungio, the sole managing member of Scott Scungio & Co., a 50% member of the Debtor.

The amount of the remaining retainer as of the petition date was $40,401.68.

               c.      All services to be provided to the Debtor after the Petition Date will be

provided on an hourly basis at my firms hourly billing rates and in accordance with its customary

billing practices with respect to its out-of-pocket expenses.

         2.     The source of compensation to be paid by my firm will be the Debtor.
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hearing;

               j.      Representation of the Debtor in adversary proceedings and other contested

matters; and

               k.      Perform all other legal services for and on behalf of the Debtor, which may

be necessary or appropriate in the administration of its Chapter 11 case.

       5.      Any and all compensation to be paid to Karalis PC for services rendered on the

Debtor’s behalf shall be fixed by application to this Court in accordance with §§ 330 and 331 of

the Bankruptcy Code, such Rules of Local and Federal Bankruptcy Procedures as may then be

applicable and/or any alternative arrangement for interim compensation as may be authorized by

the Court.

       I certify that the foregoing is a complete statement of any agreement or arrangement for

payment to me for representation of the Debtor in this bankruptcy case.



                                                                         By:     /s/ Aris J. Karalis____________
                                                             ARIS J. KARALIS
                                                             KARALIS PC
                                                             Attorneys for the Debtor
Dated: April 8, 2022




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